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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


  IN RE ECO SCIENCE SOLUTIONS,      Lead Civil No. 1:17-cv-00530
  INC. SHAREHOLDER DERIVATIVE
  LITIGATION                        (Consolidated with No. 1:18-cv-00016)
  _________________________________
                                    VERIFIED CONSOLIDATED
  This Document Relates To:         STOCKHOLDER DERIVATIVE
                                    COMPLAINT FOR BREACH OF
         ALL ACTIONS.               FIDUCIARY DUTY, AIDING AND
                                    ABETTING, WASTE OF
                                    CORPORATE ASSETS AND
                                    UNJUST ENRICHMENT;
                                    VERIFICATION OF IAN BELL;
                                    VERIFICATION OF MARC
                                    D'ANNUNZIO; DEMAND FOR
                                    JURY TRIAL; CERTIFICATE OF
                                    SERVICE


        VERIFIED CONSOLIDATED STOCKHOLDER DERIVATIVE
        COMPLAINT FOR BREACH OF FIDUCIARY DUTY, AIDING
           AND ABETTING, WASTE OF CORPORATE ASSETS
                    AND UNJUST ENRICHMENT

        Plaintiffs Ian Bell and Marc D'Annunzio, by their attorneys, allege for this

  Verified Consolidated Stockholder Derivative Complaint against defendants upon

  personal knowledge as to themselves and their own acts, and as to all other matters

  upon information and belief based upon, inter alia, the investigation conducted by

  and through their attorneys, which included, among other things, a review of public

  filings with the U.S. Securities and Exchange Commission ("SEC") and a review

  of news reports, press releases, and other publicly available sources.




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                              NATURE OF THE ACTION

        1.       This is a shareholder derivative action brought by plaintiffs on behalf

  of nominal defendant Eco Science Solutions, Inc. ("Eco Science," "ESSI" or the

  "Company") against certain of its officers and directors for breaches of fiduciary

  duties, aiding and abetting, waste of corporate assets, unjust enrichment, and

  violations of law. These wrongs resulted in hundreds of millions of dollars in

  damages to Eco Science's reputation, goodwill, and standing in the business

  community. In addition to committing millions of dollars' worth of Company

  resources to worthless products and services, these actions have exposed the

  Company to hundreds millions of dollars in potential liability for violations of

  federal law.

        2.       According to its website, Eco Science claims to provide "enterprise

  software solutions," including consumer applications for mobile phones ("apps")

  and e-commerce platforms focused on the health and wellness industry. Eco

  Science targets the "social media consumer user market." To accomplish this, the

  Company purportedly produces initiatives centered on educating and connecting

  social media users with various holistic health, wellness, and alternative medicine

  businesses, especially in the burgeoning cannabis industry.

        3.       The reality is, however, Eco Science has become a front for defendant

  Gannon Giguiere's ("Giguiere") latest pump-and-dump scheme designed to enrich



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  himself at the expense of unsuspecting investors. In furtherance of his latest

  dubious endeavor, defendant Giguiere allied himself with defendants Jeffrey

  Taylor ("J. Taylor") and Don Lee Taylor ("D. Taylor") who are brothers and Eco

  Science's controlling majority stockholders.      Defendants J. Taylor and D.

  Taylor, who are also the Company's self-appointed Chief Executive Officer

  ("CEO") and Chief Financial Officer ("CFO"), respectively, were willing to use

  their control of Eco Science to further defendant Giguiere's scheme and line their

  own pockets in breach of their fiduciary duty and to the detriment of the Company.

        4.    In particular, shortly after taking over the operations of the Company

  in January 2016, defendants J. Taylor and D. Taylor on behalf of Eco Science

  signed a Technology Licensing and Marketing Support Agreement with Separation

  Degrees – One, Inc. ("SDOI"). SDOI is an unlisted "marketing and e-commerce"

  company in which defendant Giguiere serves as Chairman, CEO, President, and

  Secretary. In addition, the Company reported that it had entered into an Asset

  Purchase Agreement with SDOI. In exchange for 1,000 shares of the Company's

  Series A voting preferred stock, Eco Science acquired what the Individual

  Defendants (as defined herein) described as a proprietary messaging and customer

  relationship management "software platform." As detailed herein, this agreement

  was strikingly similar to asset purchase agreements that defendant Giguiere used in

  previous schemes.



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        5.     SDOI was also hired to promote this software platform, supposedly

  used in two mobile apps, Fitrix and Herbo. However, these apps had limited

  functionality and generated no revenue. In reality, instead of marketing these

  products, SDOI was artificially pumping up Eco Science stock in articles on

  market research websites over the course of 2016. The articles touted Eco Science

  as the potential next Amazon of the cannabis industry. While the stock remained

  inflated as a result of this so-called "service," the Company provided defendant

  Giguiere with stock worth millions of dollars by converting SDOI's invoices to the

  Company to Eco Science shares.

        6.     On December 15, 2016, an article published by Seeking Alpha

  detailed the Individual Defendants' manipulative advertising practices used in

  implementing Eco Science's agreement with SDOI. The article revealed that the

  Company was largely an empty shell, with limited operations that did not warrant

  the Company's inflated valuation. Despite the marketing agreement with SDOI,

  the report stated that the Company had only attracted six subscribers to its two

  YouTube channels and only a few hundred downloads of the overly-simplistic

  Herbo and Fitrix apps for Android devices. Moreover, the article highlighted

  defendants J. Taylor and D. Taylor had no experience in developing social media

  networking or e-commerce platforms, let alone in the holistic health, wellness, and

  alternative medicine industries.



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          7.   Over the next several days, as the news was disseminated to the

  investing public, the Company's stock price continued to decline. In total, the

  Company's stock price fell almost 47% sinking to $1.43 per share, a loss of $1.25

  per share, or a total drop of $40.9 million in market capitalization by December 20,

  2016.

          8.   This report, however, did not deter defendants J. Taylor and D. Taylor

  from continuing their scheme with defendant Giguiere.            In January 2017,

  defendants J. Taylor and D. Taylor caused Eco Science to agree to sell ten million

  shares of the Company's stock in a purported financing transaction to Phenix

  Ventures, LLC ("Phenix") – a company in which defendant Giguiere served as a

  managing member.      This toxic financing deal allowed defendant Giguiere to

  purchase Eco Science shares at a steep discount1 through the front of his company

  Phenix. As defendant Giguiere had done in previous similar schemes, he could

  then quickly dump those shares for a profit at the inflated price propped up by the

  aforementioned false marketing. The massive dilution from defendant Giguiere's

  sales would cause the Company's stock price to plummet. He could then purchase

  more stock at a discount to this already deflated price, ensuring defendant Giguiere


  1
     According to the Equity Purchase Agreement dated January 15, 2017, and
  attached to the Current Report on Form 8-K filed with the SEC on January 26,
  2017, the Company was to sell to Phenix up to ten million shares at 83% of the
  average volume weighted average price ("VWAP") on the principal market.


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  always made a profit.      This death spiral scenario continually weakens the

  Company's stock price, which in turn makes the shares unattractive to new

  investors and severely limits the Company's ability to obtain new financing from

  creditors on favorable terms.

         9.     Defendants J. Taylor and D. Taylor also engaged in self-dealing

  designed to line their pockets at the expense of the Company, in breach of their

  fiduciary duty. In January 2017, defendants J. Taylor and D. Taylor, while the

  Company's sole directors, awarded themselves three million shares each of the

  Company's restricted stock. These self-dealing stock awards were worth over $16

  million in total.

         10.    Further, while awaiting SEC approval of a Form S-1 Registration

  Statement that would allow defendant Giguiere to sell his newly acquired shares,

  the Individual Defendants continued to pump up Eco Science stock with smoke

  and mirrors. In a May 5, 2017 press release, the Company touted to the investing

  public that it had signed a Letter of Intent with the so-called Ga-Du Bank, Inc.

  ("Ga-Du Bank") to acquire full ownership of the bank in a stock and cash

  transaction. The Company reported that it had received initial commitments from

  "prospects" to deposit sums between $300 million to $600 million.

         11.    Another Seeking Alpha article, published on May 15, 2017, however,

  revealed that Eco Science's acquisition of the Ga-Du Bank was a sham. The



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  Company claimed the bank was regulated by the newly-founded Central Bank of

  the Southern Cherokee Nation and The Red Fire People, but the article revealed

  that this supposed sovereign nation is not among the Native American tribes

  recognized by the Bureau of Indian Affairs.2 According to the article's author, the

  Company's May 5, 2017 press release was part of the Individual Defendants'

  attempt to fraudulently keep Eco Science's stock afloat while the SEC considered

  the Company's Form S-1 statement registering the fourteen million shares

  defendant Giguiere had accumulated. The article further exposed the extent of the

  Individual Defendants' pump-and-dump scheme perpetrated on Eco Science, and

  revealed that defendant Giguiere had engaged in similar schemes with other

  entities in the past that lead to the complete erosion of the equity value of the stock.

        12.    On May 19, 2017, the SEC issued a release that announced the

  temporary suspension of trading in the securities of Eco Science pursuant to

  section 12(k) of the Securities Exchange Act of 1934 (the "Exchange Act"). The

  SEC expressed concerns about the accuracy and adequacy of publicly disseminated

  information concerning the Company's proposed acquisition of Ga-Du Bank.

        13.    When trading resumed on June 6, 2017, the Company's stock closed at


  2
    The U.S. Department of the Interior is the agency that maintains legal and
  political relationships with Native American tribes in the United States. Plaintiffs,
  through their counsel, have confirmed that the Southern Cherokee Nation and The
  Red Fire People are not among the tribes recognized by the Bureau of Indian
  Affairs.


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  $0.65 per share, a steep decline of $1.72 per share, or over 72%, from the

  Company's closing price of $2.37 on May 19, 2017, representing a $78 million

  market capitalization loss. While the Individual Defendants were engaged in this

  detrimental pump-and-dump scheme, Eco Science's stock plummeted from a high

  of $4.58 per share on January 20, 2017, to a low of $0.28 per share on June 12,

  2017, a loss of $4.30 per share. Overall, market capitalization fell more than $137

  million, or approximately 91% of its value. The Company's stock has yet to

  recover as of the filing of this complaint.

        14.    The revelation of the sham transaction with Ga-Du Bank and its

  detrimental effect on the Company has not deterred the Individual Defendants'

  continued advancement of their scheme. A Current Report on Form 8-K filed with

  the SEC on October 6, 2017, promoted the assignment to Ga-Du Bank, now

  referred to as Ga Du Corporation, of all rights, interest in, on obligations under a

  License and Master Marketing Agreement ("LMMA") with the so-called Alliance

  Financial Network, Inc. ("Alliance"). Under the LMMA, Alliance would provide

  Ga Du Corporation with "certain financial and marketing services to businesses

  and individuals, including the Cannabis Industry." According to the Form 8-K,

  Alliance also operates a mobile app called eXPO, through which Alliance

  supposedly provides financial and marketing services to businesses and individuals

  "which are challenged in the traditional banking systems." For this assignment,



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 designed to keep Eco Science's stock afloat, Ga Du Corporation issued 200,000

 shares of Eco Science common stock.

       15.    The revelation that Eco Science, under the supervision and direction

 of the Individual Defendants, engaged in sham agreements with SDOI, Phenix, and

 the Ga-Du Bank to manipulate the Company's stock price and provide defendant

 Giguiere millions in Company stock caused harm to the Company. As part of the

 Individual Defendants' scheme, defendants J. Taylor and D. Taylor also approved

 the issuance of millions of shares of Eco Science stock to defendant Giguiere

 without any reciprocal benefit to the Company. In addition to the steep decline in

 market capitalization, the Company suffered damages to its reputation and

 goodwill, affecting its ability to raise additional equity capital from investors or

 debt financing from its creditors crucial to a small cap company's survival.

       16.    Moreover, this action concerns the harm caused to the Company by

 the Individual Defendants due to their responsibility for making or approving of

 improper statements concerning Eco Science's business, operations, and prospects.

 In those public statements, the Individual Defendants made false assertions about

 the use of advertising funds, which were being used to promote the Company's

 stock in furtherance of a classic "pump-and-dump" scheme.            The Individual

 Defendants also disseminated false information concerning a proposed acquisition

 of the so-called Ga-Du Bank to keep the stock afloat as a continuation of this



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 pump-and-dump scheme.         In making and causing the Company to issue the

 improper statements regarding its operations, the Individual Defendants breached

 their fiduciary duties owed to the Company and its stockholders.

       17.    As a direct result of this unlawful course of conduct, the Company is

 now the subject of numerous federal securities class action lawsuits filed in the

 United States District Court for the District of New Jersey on behalf of investors

 who purchased Eco Science's shares.

                           JURISDICTION AND VENUE

       18.    Jurisdiction is conferred by 28 U.S.C. §1332. Complete diversity

 among the parties exists and the amount in controversy exceeds $75,000, exclusive

 of interests and costs.

       19.    This Court has jurisdiction over each defendant named herein because

 each defendant is either a corporation that conducts business in and maintains

 operations in this District, or is an individual who has sufficient minimum contacts

 with this District to render the exercise of jurisdiction by the District courts

 permissible under traditional notions of fair play and substantial justice.

       20.    Venue is proper in this Court in accordance with 28 U.S.C. §1391(a)

 because: (i) Eco Science maintains its principal place of business in this District;

 (ii) one or more of the defendants either resides in or maintains executive offices in

 this District; (iii) a substantial portion of the transactions and wrongs complained



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 of herein, including the defendants' primary participation in the wrongful acts

 detailed herein, and aiding and abetting and conspiracy in violation of fiduciary

 duties owed to Eco Science, occurred in this District; and (iv) defendants have

 received substantial compensation in this District by doing business here and

 engaging in numerous activities that had an effect in this District.

                                   THE PARTIES
 Plaintiffs

       21.    Plaintiff Marc D'Annunzio was a stockholder of Eco Science at the

 time of the wrongdoing complained of, has continuously been a stockholder since

 that time, and is a current Eco Science stockholder. Plaintiff D'Annunzio is a

 citizen of New York.

       22.    Plaintiff Ian Bell was a stockholder of Eco Science at the time of the

 wrongdoing complained of, has continuously been a stockholder since that time,

 and is a current Eco Science stockholder. Plaintiff Bell is a citizen of North

 Carolina.

 Nominal Defendant

       23.    Nominal defendant Eco Science is a Nevada corporation with

 principal executive offices located at 1135 Makawao Avenue, Suite 103-188,

 Makawao, Hawaii. Accordingly, Eco Science is a citizen of Nevada and Hawaii.

 Eco Science is a health and wellness bio and software technology-focused



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 company.       Eco Science's core services span business location, localized

 communications between consumers and business operators, social networking,

 educational content, e-commerce, product commercialization, and delivery. As of

 January 31, 2017, the Company had six employees, inclusive of four part time

 service providers. In addition, the Company has retained twenty-three independent

 consultants.

 Defendants

       24.      Defendant J. Taylor is and has been since December 2015, Eco

 Science's CEO and President. J. Taylor also is and has been since January 2016,

 the Secretary and a director of the Company. Defendant J. Taylor is named as a

 defendant in related securities class action complaints that allege he violated

 sections 10(b) and 20(a) of the Exchange Act.     Defendant J. Taylor knowingly,

 recklessly, or with gross negligence: (i) caused or allowed Eco Science to engage

 in a pump-and-dump scheme and sham transactions designed to enrich himself and

 defendant Giguiere at the expense of the Company; and (ii) made improper

 statements in the Company's press releases and public filings concerning the

 Company's operations.        Eco Science paid defendant J. Taylor the following

 compensation as an executive:

                                             Stock
                       Year      Salary     Awards         Total
                       2017     $115,000   $8,190,000   $8,305,000




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 Defendant J. Taylor is a citizen of Hawaii.

       25.    Defendant D. Taylor is and has been since December 2015, Eco

 Science's CFO. D. Taylor also is and has been since January 2016, the Treasurer

 and a director of the Company. Defendant D. Taylor is named as a defendant in

 related securities class action complaints that allege he violated sections 10(b) and

 20(a) of the Exchange Act. Defendant D. Taylor knowingly, recklessly, or with

 gross negligence: (i) caused or allowed Eco Science to engage in a pump-and-

 dump scheme and sham transactions designed to enrich himself and defendant

 Giguiere at the expense of the Company; and (ii) made improper statements in the

 Company's press releases and public filings concerning the Company's operations.

 Eco Science paid defendant D. Taylor the following compensation as an executive:

                                             Stock
                      Year      Salary      Awards          Total
                      2017     $105,000    $8,190,000    $8,295,000


 Defendant D. Taylor is a citizen of Hawaii.

       26.    Defendant L. John Lewis ("Lewis") is and has been since June 2017,

 an Eco Science director. Defendant Lewis also is and has been since June 2017,

 the CEO of Ga Du Corporation. Defendant Lewis aided and abetted defendants J.

 Taylor and D. Taylor in the breach of their fiduciary duties to the Company.

 Defendant Lewis is a citizen of Utah.

       27.    Defendant S. Randall Oveson ("Oveson") is and has been since June



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 2017, an Eco Science director. Defendant Oveson also is and has been since June

 2017, Ga Du Corporation's Chief Operating Officer ("COO"). Defendant Oveson

 aided and abetted defendants J. Taylor and D. Taylor in the breach of their

 fiduciary duties to the Company. Defendant Oveson is a citizen of Utah.

       28.    Defendant Giguiere is the Chairman, CEO, Secretary, and President of

 SDOI and has been since at least January 2015. Defendant Giguiere founded SDOI

 in December 2014. Defendant Giguiere was also the Managing Member of Phenix

 from at least January 2017 to at least December 2017. Defendant Giguiere is

 named as a defendant in a related securities class action complaint that alleges he

 violated section 10(b) of the Exchange Act. Defendant Giguiere aided and abetted

 defendants J. Taylor and D. Taylor in the breach of their fiduciary duties to the

 Company. Defendant Giguiere is a citizen of California.

       29.    The defendants identified in ¶¶24-25 are referred to herein as the

 "Officer Defendants." The defendants identified in ¶¶24-27 are referred to herein

 as the "Director Defendants." Collectively, the defendants identified in ¶¶24-28

 are referred to herein as the "Individual Defendants."

               DUTIES OF THE OFFICER DEFENDANTS AND
                       DIRECTOR DEFENDANTS

 Fiduciary Duties

       30.    By reason of their positions as officers and directors of the Company,

 each of the Officer Defendants and Director Defendants owed and owe Eco


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 Science and its stockholders fiduciary obligations of trust, loyalty, good faith, and

 due care, and were and are required to use their utmost ability to control and

 manage Eco Science in a fair, just, honest, and equitable manner. The Officer

 Defendants and Director Defendants were and are required to act in furtherance of

 the best interests of Eco Science and not in furtherance of their personal interest or

 benefit.

       31.    To discharge their duties, the officers and directors of Eco Science

 were required to exercise reasonable and prudent supervision over the

 management, policies, practices, and controls of the financial affairs of the

 Company. By virtue of such duties, the officers and directors of Eco Science were

 required to, among other things:

              a) properly and accurately guide the Company's stockholders and the

                 public when speaking about Eco Science's financial condition at

                 any given time, including making accurate statements about the

                 Company's operations and financial well-being;

              b) conduct the affairs of the Company in an efficient, business-like

                 manner in compliance with all applicable laws, rules, and

                 regulations so as to make it possible to provide the highest quality

                 performance of its business, to avoid wasting the Company's

                 assets, and to maximize the value of the Company's stock;



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             c) remain informed as to how Eco Science conducted its operations,

                and, upon receipt of notice or information of imprudent or unsound

                conditions or practices, make reasonable inquiry in connection

                therewith, and take steps to correct such conditions or practices

                and make such disclosures as necessary to comply with applicable

                laws;

             d) ensure that the Company complied with its legal obligations and

                requirements, including acting only within the scope of its legal

                authority and refrain from engaging in deceptive or fraudulent

                conduct; and

             e) refrain from engaging in acts of self-dealing to enrich themselves

                at the expense of the Company and its investors.

 Control, Access, and Authority

       32.   The Officer Defendants and Director Defendants, because of their

 positions of control and authority as controlling stockholders, directors, and/or

 officers of Eco Science, were able to and did, directly and/or indirectly, exercise

 control over the wrongful acts complained of herein, as well as the contents of the

 various public statements issued by the Company.

       33.   Because of their advisory, executive, managerial, and directorial

 positions with Eco Science, each of the Officer Defendants and Director



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 Defendants had access to adverse, nonpublic information about the financial

 condition, operations, and improper representations of Eco Science, including

 information regarding the several factors negatively impacting the Company's

 performance.

       34.   At all times relevant hereto, each of the Officer Defendants and

 Director Defendants was the agent of each of the other Officer Defendants and

 Director Defendants and of Eco Science, and was at all times acting within the

 course and scope of such agency.

 Breaches of Duties

       35.   Each of the Officer Defendants and Director Defendants, by virtue of

 his position as a director and/or officer, owed to the Company and to its

 stockholders the fiduciary duty of loyalty and good faith and the exercise of due

 care and diligence in the management and administration of the affairs of the

 Company, as well as in the use and preservation of its property and assets. The

 conduct of the Officer Defendants and Director Defendants complained of herein

 involves a knowing and culpable violation of their obligations as officers and

 directors of Eco Science, the absence of good faith on their part, and a reckless

 disregard for their duties to the Company and the Officer Defendants and Director

 Defendants were aware or reckless in not being aware posed a risk of serious

 injury to the Company. The conduct of the Officer Defendants and Director



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 Defendants who were also officers and/or directors of the Company have been

 ratified by the remaining Officer Defendants and Director Defendants who

 collectively comprised all of Eco Science's Board of Directors (the "Board").

       36.   The Officer Defendants and Director Defendants breached their duty

 of loyalty and good faith by allowing defendants to cause, or by themselves

 causing, the Company to engage in making improper statements, improper

 practices that wasted the Company's assets, and caused Eco Science to incur

 substantial damage.

       37.   The Officer Defendants and Director Defendants, because of their

 positions of control and authority as officers and/or directors of Eco Science, were

 able to and did, directly or indirectly, exercise control over the wrongful acts

 complained of herein. The Officer Defendants and Director Defendants also failed

 to prevent the other Officer Defendants and Director Defendants from taking such

 illegal actions. As a result, and in addition to the damage the Company has already

 incurred, Eco Science has expended, and will continue to expend, significant sums

 of money.

  CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       38.   In committing the wrongful acts alleged herein, the Individual

 Defendants have pursued, or joined in the pursuit of, a common course of conduct,

 and have acted in concert with and conspired with one another in furtherance of



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 their common plan or design. In addition to the wrongful conduct herein alleged as

 giving rise to primary liability, the Individual Defendants further aided and abetted

 and/or assisted each other in breaching their respective duties.

       39.    During all times relevant hereto, the Individual Defendants,

 collectively and individually, initiated a course of conduct that was designed to and

 did: (i) conceal harmful information relating to Eco Science's business, operations,

 and prospects that rendered statements in the Company's SEC filings and public

 announcements improper; (ii) deceive the investing public, including stockholders

 of Eco Science, regarding the Officer Defendants' management of Eco Science's

 operations; and (iii) enhance the Officer Defendants' and Director Defendants'

 positions at Eco Science and the profits, power, and prestige that these defendants

 enjoyed as a result of holding these positions.        In furtherance of this plan,

 conspiracy, and course of conduct, the Individual Defendants, collectively and

 individually, took the actions set forth herein.

       40.    The Individual Defendants engaged in a conspiracy, common

 enterprise, and/or common course of conduct. During this time, the Individual

 Defendants caused the Company to engage in the wrongdoing described herein and

 to issue improper statements.

       41.    The purpose and effect of the Individual Defendants' conspiracy,

 common enterprise, and/or common course of conduct was, among other things, to



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 disguise the Individual Defendants' violations of law, breaches of fiduciary duty,

 waste of corporate assets, aiding and abetting, and unjust enrichment; and to

 conceal adverse information concerning the Company's operations, financial

 condition, and future business prospects.

       42.   The Individual Defendants accomplished their conspiracy, common

 enterprise, and/or common course of conduct by causing the Company to

 purposefully or recklessly engage in the wrongs complained of herein. Because

 the actions described herein occurred under the authority of the Board, each of the

 Officer Defendants and Director Defendants was a direct, necessary, and

 substantial participant in the conspiracy, common enterprise, and/or common

 course of conduct complained of herein.

       43.   Each of the Individual Defendants aided and abetted and rendered

 substantial assistance in the wrongs complained of herein. In taking such actions

 to substantially assist the commission of the wrongdoing complained of herein,

 each Individual Defendant acted with knowledge of the primary wrongdoing,

 substantially assisted in the accomplishment of that wrongdoing, and was aware of

 his overall contribution to and furtherance of the wrongdoing.

             BACKGROUND OF DEFENDANTS J. TAYLOR AND
               D. TAYLOR'S CONTROL OF THE COMPANY

       44.   Eco Science purportedly provides software-based products targeting

 consumers within the health and wellness industry, particularly focusing on holistic


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 health, wellness, and alternative medicines, including cannabis. According to Eco

 Science's most recent Annual Report on Form 10-K, filed with the SEC on May 1,

 2017, the Company builds "both consumer and enterprise technology, consumer

 package goods, investing in Research & Development and advertising to consumer

 and professional traffic for both our apps and web properties."

       45.     Defendants J. Taylor and D. Taylor together purchased approximately

 57.5% of the Company's issued and outstanding common stock on December 15,

 2015, worth around $61,000,3 from the former majority stockholder in a private

 transaction. In a Current Report on Form 8-K, filed with the SEC on December

 24, 2015, it was announced that defendant J. Taylor would be taking the position of

 CEO and defendant D. Taylor as CFO.           The Form 8-K revealed that, while

 defendants J. Taylor and D. Taylor would be overseeing the development of

 technology and content for Eco Science, they had no experience in the health and

 wellness industry or consumer software development. Defendants J. Taylor and D.

 Taylor also installed themselves as the sole directors of the Company. The Form

 8-K stated:

       ITEM 5.02 DEPARTURE OF DIRECTORS OR CERTAIN
       OFFICERS; APPOINTMENT OF CERTAIN OFFICERS


 3
   Calculation based on the Company's Current Report on Form 8-K filed with the
 SEC on January 12, 2016, which stated that the Company had almost 26.9 million
 total outstanding and issued shares. The market price for the stock at the time of
 defendants J. Taylor and D. Taylor's transaction was $0.004 per share.


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       On December 17, 2015, Michael Borkowski resigned as President and
       Chief Executive Officer of the Company, effective December 17,
       2015. Additionally, Mr. Borkowski resigned his position as Director
       of the Company effective December 17, 2015. Mr. Borkowski
       resigned for no other reason than to pursue other opportunities that
       will preclude him from dedicating time to the Company necessary for
       the day-to-day running of the Company. Mr. Borkowski will help the
       new Officers with the transition.

       On December 10, 2015, Mark Dilley resigned as a Director of the
       Company, for no other reasons than personal reasons.

       Effective December 17, 2015, Mr. Jeffery Taylor was appointed to
       serve as Chief Executive Officer of the Company and Mr. Don Lee
       Taylor was appointed to serve as Chief Financial Officer of the
       Company.

       Mr. Jeffery Taylor

       As CEO, Mr. Jeffrey Taylor will oversee the company's strategy,
       technology roadmap, and consumer community content development
       programs; Mr. Taylor is a recipient of the Army Commendation
       Medal from the United States Army during service of operation
       Uphold Democracy; he served in the United States Army for 10 Years
       and focused on supply chain management technologies with an
       emphasis on logistics and distribution of specialty materials. Mr.
       Taylor was discharged with a Medical Discharge; Mr. Taylor has been
       a real estate entrepreneur and holds a real estate license in the State of
       Hawaii from 2005 to present. In 2003, Mr. Taylor received his
       Microsoft technology certification from the Veterans Association
       during rehabilitation process from being injured in the military. As
       part of his passion for open water scuba and snorkeling, he launched
       Liquid Marlin LLC, and works with the Make A Wish Foundation on
       Maui as one of its designated snorkel instructors.

       Mr. Don Lee Taylor

       As CFO, Don Taylor will oversee the company's financial
       governance; business community content development program, and
       business partnerships. Mr. Taylor holds a real estate license in the
       State of Hawaii from 2001 to Present; and has been active in the


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       Hawaii real estate and real estate financing community. Mr. Taylor
       currently holds the title of Broker in Charge of Maui Realty Co., Inc.
       Mr. Taylor holds a BS in Finance with an emphasis in Financial
       Management from the California State University in Long Beach.

   DEFENDANT GIGUIERE'S PREVIOUS PUMP-AND-DUMP SCHEME

       46.    As described in more detail herein, central to the Individual

 Defendants' operation of Eco Science as part of a pump-and-dump scheme is the

 Company's relationship with defendant Giguiere. Defendant Giguiere has engaged

 in similar schemes in the past.

       47.    Eventure Interactive, Inc. ("Eventure") is a Nevada corporation with a

 similar trajectory as Eco Science, eventually resulting in decimation of the

 company's equity value.        Originally incorporated as a GPS tracking unit

 distribution business in 2010, the company became Live Event Media, Inc. ("Live

 Event") in November 2012, transitioning to a social communications business. In

 connection   with    this   transition,   Live   Event   purchased   certain    "social

 communication assets."      These "assets" consisted of a software platform with

 millions of lines of code authored in various languages from defendant Giguiere

 and fellow investor Alan Johnson ("Johnson"). The purchase was announced in

 Live Event's Current Report on Form 8-K filed with the SEC on November 28,

 2012. Under this so-called "Asset Purchase Agreement," defendant Giguiere and

 Johnson were issued an aggregate of approximately 14.6 million shares of Live

 Event restricted common stock, with an estimated value of $7.29 million. The


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 November 28, 2012 Form 8-K stated:

        On November 21, 2012 we entered into and closed an Asset Purchase
        Agreement (the "Asset Purchase Agreement") with Local Event
        Media, Inc., our wholly owned Nevada subsidiary, and Gannon
        Giguiere and Alan Johnson (collectively the "Sellers") under which
        the Sellers sold to us assets (the "Assets") which will enable us to
        engage in the social media business. The Assets consist of a software
        platform with millions of lines of code authored in various
        languages including, but not limited to HTML, Java, Python and
        SQL. The software platform operates at multiple levels from a back-
        end, middle-ware and front-end, all which have been compiled into a
        fully functional web based application. The software has been and
        will continue to be written locally by various software developers,
        committed to a storage vault and then compiled into a functional
        application, which is then served on rented servers or what is currently
        referred to as a cloud server farm.

       48.   As part of its Asset Purchase Agreement, Live Event also appointed

 defendant Giguiere as Chairman, CEO, and Secretary and appointed Johnson as

 President and a director. The name of the company was then changed to Eventure

 in February 2013. The material agreement and code technology associated with

 the Asset Purchase Agreement, however, provided no additional revenue to

 Eventure.

       49.   With defendant Giguiere at Eventure's helm, he and his fellow

 investor, Johnson, pumped up the value of the stock by promoting social invitation

 and sharing "apps" created from defendant Giguiere's supposed code technology in

 its press releases and public filings. They then dumped their personal stock prior

 to its precipitous decline when Eventure began making numerous material



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 agreements with enigmatic entities with potential conflicts of interest with

 defendant Giguiere, undisclosed to Eventure's investors.           In those material

 agreements, Eventure sold millions of the Company's shares to these entities and

 increasing its capitalization by issuing more than a billion shares:

                        Eventure Registrant's Common Stock
                          $0.001 par value, Outstanding as of
                     (Pre-Giguiere) August         (Giguiere)
                           17, 2012           November 23, 2015
                          10,400,000             1,101,066,432

       50.    For example, in December 2015, Eventure entered into an Investment

 Agreement and a Registration Rights Agreement with N600PG, LLC ("N600PG"),

 a company with defendant Giguiere as a managing member, to establish a source

 of funding. Based on Eventure's Current Report on Form 8-K filed with SEC on

 January 8, 2016, N600PG agreed to purchase $10 million worth of stock at 80% of

 Eventure's market price at the time. Under defendant Giguiere, Eventure also

 entered several material agreements with various entities, issuing over a billion

 shares from 2013 to 2015.

       51.    The damage defendant Giguiere caused Eventure has been irreparable.

 Ultimately, the company's equity value plummeted from $3.40 per share on

 January 2, 2014 to less than $0.14 per share by December 31, 2014, a loss of $3.26

 a share. This represented a market capitalization loss of $60 million, or 94% of its

 value. Since this staggering decline, Eventure's shares have remained worthless at



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 $0.0001 a share.




     THE INDIVIDUAL DEFENDANTS' PUMP-AND-DUMP SCHEME

 Eco Science Purchases Worthless Proprietary Technology from SDOI

       52.   SDOI reports to be a development stage company intended to develop

 marketing and e-commerce solutions in the business-to-consumer and business-to-

 business markets. Defendant Giguiere leads SDOI as its founder, Chairman, CEO,

 Secretary, and President.   SDOI's corporate structure and operations mirror

 defendant Giguiere's Eventure scheme, wherein SDOI issued defendant Giguiere

 millions in equity through related transactions. For example, per SDOI's Form S-1

 Registration Statement disclosures, defendant Giguiere was issued the majority of

 the stock with 100% of the outstanding Preferred and 70.64% of the outstanding

 Common Stock.      In December 2014, SDOI entered into an Asset Purchase

 Agreement with defendant Giguiere that included a software platform which



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 allegedly contained millions of lines of codes.

       53.    In January 2015, defendant Giguiere attempted to take SDOI public

 and filed a Form S-1 Registration Statement with the SEC on January 26, 2015, on

 a self-underwritten, best efforts basis. With language eerily similar to that of

 Eventure's doomed Asset Purchase Agreement, the January 26, 2015 Form S-1

 stated:

       On December 19, 2014, we entered into an Asset Purchase Agreement
       with Gannon Giguiere, our President and CEO, which includes a
       software platform with millions of lines of code authored in various
       languages including, but not limited to, HTML, Java, Python, and
       SQL. The software platform operates at multiple levels from a back-
       end, middle-ware and front-end, all, which have been compiled into a
       fully functional web based application. The software has been, and
       will continue to be, written locally by various software developers,
       committed to a storage vault, and then compiled into a functional
       application, which is then served on rented servers, or what is
       currently referred to as a cloud server farm.

       The software platform provides for diversified revenue streams in the
       form of licensing revenue, transactional revenue and services revenue.
       Licensing revenue is generated from deployment of the specialized
       Magento, OsCommerce and internally developed e-commerce
       shopping cart and catalog management platforms. Transactional
       revenue is generated from the commission fees associated with the
       automated onboarding of large scale catalogs onto selling networks
       such as Amazon, eBay, Ratuken and leading comparison shopping
       portals. Services revenue is generated from the SEO, SEM, SMO and
       Affiliate Program management capabilities that the software platform
       has been developed to support. Notable firms that operate similar
       platforms include the following:

              Square Space – www.squarespace.com
              Wix - http://www.wix.com Weebly - http://www.weebly.com
              Gorilla Group - http://www.gorillagroup.com Corra -


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             http://corra.com
             Spiegel Design Group - https://www.sdg.la Channel Advisors –
             www.channeladvisors.com Expandly –
             http://www.expandly.com
             Mercent - http://www.mercent.com

       The Company's assets will also include the multiple consulting
       relationships in which our President and CEO, Gannon Giguiere, is
       currently engaged, which span his consulting work for clients in
       eCommerce development, search engine optimization, online media
       planning and buying, as well as product placement for commission
       based selling.

                                     *   *    *

       The software platform that has been acquired in preferred stock and
       valued at the par value of the preferred stock which results in a value
       of Five Thousand Dollars ($5,000).

                                     *   *    *

       The software platform provides for diversified revenue streams in
       the form of licensing revenue, transactional revenue and services
       revenue. Licensing revenue is generated from deployment of the
       specialized Magento, OsCommerce and internally developed e-
       commerce shopping cart and catalog management platforms.
       Transactional revenue is generated from the commission fees
       associated with the automated onboarding of large scale catalogs onto
       selling networks such as Amazon, eBay, Ratuken and leading
       comparison shopping portals. Services revenue is generated from the
       SEO, SEM, SMO and Affiliate Program management capabilities that
       the software platform has been developed to support.
       The software platform has not begun being amortized because it has
       not been placed in service yet, but upon deployment into service it
       will be amortized over a three-year period.

       The software is tested annually for impairment and is not deemed
       impaired at this time.




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       54.    Upon receiving continued resistance from the SEC,4 defendant

 Giguiere failed to complete the initial public offering and then turned his attention

 and efforts to Eco Science to engage in a similar scheme, but this time behind the

 scenes. On January 1, 2016, shortly after defendants J. Taylor and D. Taylor's

 appointment and acquisition of the majority of the Company's shares, the Company

 agreed to acquire a reportedly "proprietary" messaging and customer relationship

 management software platform from SDOI under an Asset Purchase Agreement.

 The Asset Purchase Agreement mirrored defendant Giguiere's previous scheme

 with Eventure and SDOI. The Individual Defendants also agreed to a Technology

 Licensing and Marketing Support Agreement with SDOI that would "result in the

 development, licensing and management of on-going technology solutions and

 marketing campaigns for ESSI's initiatives."

       55.    As consideration for SDOI's marketing "services," the Company

 agreed to pay SDOI 1,000 Series A preferred shares, together with S-8 shares5 to

 cover monthly service shares. The Company also announced that it would issue

 additional common stock with registration rights in consideration for the Asset


 4
  Even after six amendments to SDOI's initial Form S-1 Registration Statement, the
 SEC stated in a letter to defendant Giguiere, dated September 9, 2015, that it
 "would likely recommend that the Commission deny your request."
 5
   Often used by over-the-counter (OTC) issuers as compensation, S-8 shares are
 provided to employees and consultants who are not an affiliate that directly or
 indirectly controls the issuer. The shares become immediately effective upon


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 Purchase Agreement.

         56.   Also in January 2016, the Company entered into an agreement with

 SDOI for the purchase of a communications software platform, including custom

 developed libraries. The Company's 2015 Annual Report on Form 10-K filed with

 the SEC on May 17, 2016 (the "2015 Form 10-K") asserted that the purchase of the

 libraries from SDOI was made in furtherance of creating the software platform the

 Company was developing. As consideration, Eco Science issued SDOI 500,000

 shares of common stock, recording the fair market value of $3,500 on the date of

 the agreement as intangible assets on the Company's balance sheet.

         57.   This software platform touted by defendants J. Taylor, D. Taylor, and

 Giguiere was allegedly used in the creation of the Company's Fitrix and Herbo

 mobile apps. In the 2015 Form 10-K, signed by defendants J. Taylor and D.

 Taylor, it touted the launch of "The Pursuit of Fine Herb Original Content" on its

 Eco Science and Herbo YouTube channels, along with its Herbo and Fitrix mobile

 apps.    The roll out of these products were allegedly part of the Company's

 "monetization strategy" that would "generate revenue through paid advertisements"

 and "sales of consumer packaged goods targeting general health and wellness and

 alternative medicines," without providing specifics.

         58.   Promoting the supposed value of these products, the 2015 Form 10-K


 filing a Form S-8 short-form registration statement with the SEC.


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 stated that the Herbo app provides "a database of over 14,000 alternative medicine

 locations and delivery services, doctors who provide evaluations, and local shops

 that sell relevant product." The 2015 Form 10-K claimed that the Herbo app was

 designed to help "consumers find products and services that support the intake of

 alternative medicines for a more naturopathic way of living." Of the Fitrix app, the

 2015 Form 10-K stated that it is "a powerful and flexible companion which helps

 users keep track of your day to day fitness routines, dietary habits and alternative

 medicine intake."

       59.     The supposed software platform used in the apps bears marked

 similarities to the "codes" marketed by defendant Giguiere's previous enterprises,

 Eventure and SDOI. As later reported by Seeking Alpha, discussed below, Fitrix

 and Herbo are rudimentary and largely worthless due to a lack of functionality or

 advertising revenue.

       60.     Instead of providing the marketing support for the Company's

 products, as required by the Technology Licensing and Marketing Support

 Agreement, SDOI merely paid the website TheMoneyStreet.com to promote Eco

 Science's stock on the website and YouTube. For example, in an undated posting

 on   its    website   entitled   "Is   This    the   Next   Big   Stock   for   2016?,"

 TheMoneyStreet.com referred to Eco Science as a potential player in the cannabis

 industry, following Amazon's business model. The posting further averred that



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 Eco Science was leveraging its supposed product line to reap the benefits from a

 burgeoning $10 billion industry. The posting stated:

       Eco Science Solutions, Inc. (OTC: ESSI) has an interesting business
       model. It's approaching the industry as a technology company that is
       building and delivering e-commerce infrastructure services that
       connect consumers with cannabis businesses (B2C), and cannabis
       businesses with other cannabis businesses (B2B).

       Their timing to the market couldn't be better, and if they can execute,
       they stand to make a big splash.

                                     *   *    *

       Eco Science seems to be taking a page out of Amazon.com's playbook
       to focus on developing the ecommerce technology infrastructure that
       creates marketplace opportunities among consumers and sellers where
       businesses can grow their brands and business offerings.

                                     *   *    *

       And following Amazon.com, Eco Science will focus on perfecting its
       marketplace on select products, and then continue to rollout new
       product categories as its sees traction with consumers where it can
       then recruit more manufacturers and distributors to address consumer
       trends.

       The Company has stated that it will initially focus on helping
       consumers find and purchase cannabis ancillary products easily and
       conveniently.
                                  * * *

       It's eerily similar to how Amazon started out. It initially launched
       focused on selling books. It wasn't a sexy product line, and one that
       was probably not too competitive at the time. This allowed Amazon
       to perfect is e-commerce model while building direct relationships
       with consumers that eventually led to it owning the coveted "the last
       mile" because of its delivery of products to the doorsteps of
       consumers.

       As Amazon started out just selling books, owning the last mile has


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       allowed them to continue to expand their product offerings, and to
       grow vertically to further allow them to capture more market share.

       If you take a look at Eco Science's business model, one could see the
       similarities to Amazon's strategy.
       Eco Science is developing technology infrastructure to create a
       marketplace. The marketplace will connect consumers with products
       that are carried by sellers. The products offered are not considered
       "sexy" products. This affords for the likelihood of less competition,
       which allows the company time to optimize its technology and
       business model while building long-term consumer relationships.

       Eco Science will primarily connect consumers with local smoke shops
       and local businesses. This allows it to provide consumers with
       multiple options to get their products – from their own branded
       delivery service (Uber), to in-store pick-up, to quick and convenient
       mail delivery.

       Simultaneously, Eco Science can perfect its local logistics model
       without having the delivery service be its core business model.
       Localization also allows Eco Science to learn the ins-and-outs of
       intrastate commerce vs. interstate commerce, which will be valuable
       as it expands its product offerings and footprint in the marketplace.

       61.   The 2015 Form 10-K noted that defendant Giguiere's company SDOI

 was issued a total of 1.2 million shares of common stock as part of its agreement to

 advertise and market these products. This payment was in addition to 500,000

 shares of common stock issued to SDOI as part of the supposed "Asset Purchase

 Agreement" with the company.

       62.   In Eco Science's Quarterly Report on Form 10-Q filed with the SEC

 on June 20, 2016, it announced an amendment of the Company's agreements with

 SDOI, noting stock payments to the Giguiere-run company for alleged "advertising



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 services" rendered. The Form 10-Q stated that the Company issued approximately

 1.3 million shares of common stock as part of its consulting agreement with SDOI

 on May 9, 2016. The Form 10-Q further outlined an amendment to the SDOI

 Technology Licensing and Marketing Support Agreement which included an

 increase in S-8 shares to be issued to SDOI as of June 1, 2016, stating:

       On June 1, 2016, the Company entered into a further amendment to
       the Technology Licensing and Marketing Agreement between SDOI
       and the Company. Under the Amendment: (1) SDOI will not be
       issued Series A Preferred Stock initially equal to the current total
       authorized common shares outstanding of 650,000,000; (2) Invoices
       for advertising services will be billed separately from the $35,000
       standard monthly fee and will have the same terms as the monthly fee;
       i.e., the amount invoiced will be paid via the issuance of S-8 shares of
       ESSI Common Stock (issued at a 30% discount to the market VWAP
       on the date of payment due or a share price of $0.01, whichever is
       greater).

       63.    In Eco Science's following Quarterly Report on Form 10-Q filed with

 the SEC on September 19, 2016, it reported that for "advertising services" rendered

 by SDOI the Company allocated another 7.5 million shares for issuance under its

 agreements with SDOI, but remained unissued.

       64.    On December 2, 2016, Eco Science filed its Quarterly Report on Form

 10-Q with the SEC. The Form 10-Q stated that since signing the Technology 10-

 Licensing and Marketing Support Agreement with SDOI, the Company had

 received invoices for SDOI's advertising services, totaling over $1.5 million. Also,

 under a section entitled "Plan of Operation," the Form 10-Q made claims that the



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 Company was financing ongoing licensing support and maintenance fees by

 providing stock at a discounted price. In particular, the Form 10-Q stated:

       During the nine months ended October 31, 2016 the Company
       received invoices for advertising services from SDOI totaling
       $1,271,274 and further received invoices for monthly project and
       planned technical development/maintenance, production and staging
       server administration, ongoing marketing services and monthly
       advertising management services totaling a cumulative $322,000.

                                      *   *    *

       We have recently changed the focus of our business to operate in the
       eco-friendly technology sector using social media sites and offering
       apps to generate advertising revenues and download fees. The
       Company's need for ongoing capital by way of loans, sale of equity
       and/or convertible notes is expected to continue during the current
       fiscal year until we can establish revenues from operations. We are
       presently financing ongoing licensing support and maintenance fees
       associated with our newly commenced business focus by the issuance
       of shares of common stock for services at a discount to our market
       price.

       65.   Overall, while the fraudulent articles pumped up the value of the

 Company's stock to over $4.50 per share in January 2017, defendants J. Taylor and

 D. Taylor were unloading millions of shares of Eco Science stock to defendant

 Giguiere's SDOI. The Form 10-Q claimed this stock payment was reimbursement

 for defendant Giguiere's purported tendered services. Pursuant to the Technology

 Licensing and Marketing Support Agreement dated January 1, 2016, and various

 amendments dated April 25, 2016, June 1, 2016, and October 1, 2016, Eco Science

 owed SDOI $1,920,424 as of January 17, 2017.

       66.   Also on January 1, 2016, the Company disclosed it had entered into a


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 Cancellation and Release Agreement with SDOI.               Under this agreement, Eco

 Science and SDOI mutually agreed to cancel the outstanding invoices in exchange

 for four million shares. These invoices, converted into Eco Science shares, would

 translate to millions lining the pockets of defendant Giguiere if later approved to be

 sold:

                            SDOI Invoice Conversion to ESSI Shares 
                       (Per the Cancellation of the Agreement 01/17/17) 
       Invoice     Amount of                                Conversion Total Converted 
        Date         Invoice        VWAP          Discount     Price        Shares 
      1/1/2016       $73,510.00     $0.00          $0.30      $0.01       $7,351,000.00
      2/1/2016       $76,225.00     $0.24          $0.30      $0.17       $4,537,202.00
      3/1/2015       $76,556.00     $0.41          $0.30      $0.29         $266,746.00
      4/1/2016      $124,589.00     $0.37          $0.30      $0.26         $485,160.00
      5/1/2016      $126,956.00     $0.27          $0.30      $0.19         $671,725.00
      6/1/2016      $125,000.00     $0.26          $0.30      $0.18         $694,444.00
      7/1/2016      $150,000.00     $0.24          $0.30      $0.17         $877,706.00
      8/1/2016      $150,000.00     $0.27          $0.30      $0.19         $789,058.00
      9/1/2016      $200,000.00     $0.68          $0.30      $0.47         $421,674.00
     10/1/2016      $226,157.00     $1.61          $0.30      $1.13         $200,672.00
     11/1/2016      $237,464.85     $1.96          $0.30      $1.37         $173,079.00
     12/1/2016      $227,966.25     $1.76          $0.30      $1.23         $185,038.00
     TOTAL 
      
                  $1,794,424.00   
                                   
                                                                       
                                                                         $16,653,504.00
      Monthly                                                                      
      Invoice         Amount of                          Conversion       Total Converted 
       Date            Invoice       VWAP      Discount    Price              Shares 
     10/1/2016         $42,000.00      $1.61       $0.30      $1.13             $37,267.00
     11/1/2016         $42,000.00      $1.96       $0.30      $1.37             $30,612.00
     12/1/2016         $42,000.00      $1.76       $0.30      $1.23             $23,864.00
     TOTAL            $126,000.00                                               $91,743.00
                                                                       
      




     TOTAL OUTSTANDING BALANCE: $1,920,424.00 
     TOTAL SHARES UNDER THE AGREEMENTS (IF CONVERTED): 16,745,247 

         67.   In summary, SDOI invoiced Eco Science millions of dollars in fees

 and stock for its "services." Instead of advertising and marketing the Company's


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 products, as per the marketing agreements the parties signed, SDOI was pumping

 up the value of the Company's stock through market research websites. SDOI's

 activities, publishing conflated research reports in order to later sell the stock at an

 artificially inflated price, are classic elements of a pump-and-dump scheme.

 Defendant Giguiere Acquires Additional Company Stock Through Phenix

       68.    On January 26, 2017, Eco Science filed a Current Report on Form 8-K

 with the SEC, attaching the Company's Equity Purchase Agreement with Phenix.

 Phenix is an entity with defendant Giguiere as its Managing Member. The Equity

 Purchase Agreement drew a striking resemblance to Eventure's toxic financing

 deal with N600PG under the direction of defendant Giguiere. The Form 8-K stated

 that Eco Science would have the option to sell Phenix ten million shares of the

 Company's common stock at a discounted price "equal to 83% of the lowest

 volume weighted price for the ten consecutive trading days immediately following

 the date on which the applicable Put notice is delivered."

       69.    By providing defendant Giguiere with access to additional Eco

 Science shares, the Individual Defendants furthered their pump-and-dump scheme.

 With the Company's stock price still artificially inflated, the Individual Defendants

 ensured that defendant Giguiere could continue to use the Company as his personal

 piggy bank by allowing him to purchase additional shares at a steep discount.

 Defendant Giguiere would then dump those shares for a profit at the inflated price.



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 Continuing the process over the course of several days, defendant Giguiere could

 then buy additional Eco Science shares at increasingly discounted prices as share

 prices deteriorate in response to the dumping of stock.

       70.    The Company sought to register this issuance via a Form S-1

 Registration Statement filed with the SEC on January 27, 2017.         This toxic

 financing deal masked a transfer of ten million shares of stock to defendant

 Giguiere below the market price to allow him to cash in on the Company's inflated

 stock price once the issuance had been registered. The Form S-1 also sought to

 register for resale four million of the Company's shares issued to SDOI, another

 entity operated by defendant Giguiere, as part of "invoices and fees totaling

 $1,920,424" for SDOI's supposed advertising services.6

 Eco Science's Acquisition of Ga-Du Bank

       71.    While the Individual Defendants awaited SEC approval of the Form

 S-1 Registration Statement that would allow defendant Giguiere to cash in on his

 scheme, the Company's stock price began to wane. In the Company's 2016 Annual

 Report on Form 10-K filed with the SEC on May 1, 2017 (the "2016 Form 10-K"),

 it began to prime the pump on the prospective sham transaction with Ga-Du Bank,


 6
   The Company's Form 10-Q filed on December 20, 2017, for the quarterly period
 ended October 31, 2017, states that the invoices received for advertising services
 from SDOI as well as service fees invoiced for project and planned technical
 development/maintenance, production and staging server administration is
 $2,061,506 for the fiscal year ended January 31, 2017.


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 promising "unique investment and acquisition opportunities that are both

 synergistic and accretive to the Company."          Through this transaction, the

 Individual Defendants attempted to keep the stock price afloat at artificially high

 prices until the SEC approved the issuance of fourteen million Eco Science shares

 to defendant Giguiere. The Form 10-K stated:

       The following is to provide a road-map for how the Company intends
       to prepare for and generate revenues, along with the costs associated
       to do so. Eco Science Solutions' core Initiatives are centered on five
       main areas: 1) continued consumer and enterprise technology
       investment, 2) continued product development through Scientific
       Research and Development; 3) inventory build for distribution, and 4)
       strategic acquisitions that provide an accelerated time-frame to
       secure market share; 5) development of Sales, Customer and Finance
       personnel depth to support accelerated revenue growth.

                                     * * *
       Strategic acquisitions – Due to various hyper-growth trends in
       segments of the holistic health and wellness category, Eco Science
       Solutions believes that it will be presented with unique investment
       and acquisition opportunities that are both synergistic and accretive
       to the Company. The Management Team has already identified
       several candidates. The Company has not budgeted an exact dollar
       amount for investment purposes in Strategic acquisitions over the next
       12-month period.

       72.    On May 5, 2017, Eco Science issued a press release entitled "Eco

 Science Solutions, Inc.    Signs Letter of Intent to Acquire Specialty Banking

 Operation." In the press release, the Company announced that it had signed a

 Letter of Intent to purchase Ga-Du Bank to provide financial servicing to growers,

 suppliers, distributors, retailers, and consumers in the cannabis industry. The press




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 release stated that Ga-Du Bank received its charter through the Central Bank of the

 Southern Cherokee Nation and The Red Fire People ("SCNRFP") and that Ga-Du

 Bank had received preliminary commitments to deposit sums between $300

 million to $600 million within the first 60 to 180 days following the acquisition.

 However, there are no records or official sources corroborating the existence of the

 Ga-Du Bank, which an article published by Seeking Alpha would also later reveal.

 The press release asserted:

       MAUI, HI--(Marketwired - May 5, 2017) - Eco Science Solutions,
       Inc. (OTCQB: ESSI), an eco-technology Company providing
       solutions to the multi-billion-dollar health, wellness and alternative
       medicine industry, today announced that it has signed a Letter of
       Intent with Ga Du Bank, Inc. for the purpose of acquiring full
       ownership of the Bank in a stock and cash transaction.

       Upon the closing of the transaction, ESSI will operate the Bank as a
       wholly-owned subsidiary of Eco Science Solutions, Inc. ESSI will
       own and operate a financial banking division providing payment
       processing, cash management and financial services to its customers
       in the cannabis industry.

       Additionally, the Bank's principals have engaged with prospects in
       the marketplace whom have made expressions of interest, along with
       preliminary commitments to deposit sums between Three-Hundred
       and Six-Hundred Million Dollars ($300,000,000 and $600,000,000).
       These amounts are currently being projected to be deposited within
       the first sixty to one-hundred-eighty days following the acquisition of
       the Bank by ESSI.

       "All parties involved are enthusiastic about the Bank's potential to
       financially serve the cannabis marketplace. Current business owners
       working in medical marijuana are doing a tremendous job, but are
       truly in need of formal banking services so they can soundly manage
       their business finances," stated John Lewis, who is both the current
       president of the Bank and a Governor of the Central Bank of


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       SCNRFP. Mr. Lewis continued with, "By combining Ga Du Bank
       with Eco Science Solutions, we see how our synergies will create an
       important financial institution to serve a category that is in need of a
       fully integrated vertical product suite."

       "Our entire team is thrilled by the prospect of the acquisition of the Ga
       Du Bank by ESSI," said Andy Tucker, Senior Advisor to of Ga Du
       Bank. Mr. Tucker continued, "We believe that in joining forces with
       the ESSI team, we can deliver a comprehensive suite of financial
       products that addresses the current needs of currently what is a cash-
       driven industry, allowing ESSI to become a break-out leader for the
       sector."

       "It has been our vision from day one that, in order to fully service
       the cannabis industry and execute on our business plan, we needed
       to be creative in securing and offering a banking platform that
       further differentiates us from everyone in our category," stated Jeff
       Taylor, Chief Executive Officer of Eco Science Solutions, Inc. Mr.
       Taylor continued, "The deal with Ga Du Bank is a game-changer for
       not only ESSI, but everyone in the cannabis industry. This new
       division of our Company will put us years ahead of our goal to create
       a full-service marketplace among growers, suppliers, distributors,
       retailers and consumers."

       73.   In summary, the Individual Defendants furthered a classic pump-and-

 dump scheme through various sham agreements designed to enrich themselves at

 expense of the Company. To accomplish this scheme, defendants J. Taylor and D.

 Taylor directed and approved marketing and asset acquisition agreements with the

 defendant Giguiere-run SDOI. Defendant Giguiere, through his company SDOI,

 marketed Eco Science's stock alleging that the Company was the next Amazon of

 the cannabis industry without discussing the Company's products. The Company's

 products, including mobile apps and online content, did not warrant the claims




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 made in SDOI's marketing as they were rudimentary and produced no revenue for

 Eco Science.      Defendant Giguiere still invoiced the Company millions of

 dollars for this "service," and in the end received millions in stock awards as

 supposed compensation. Defendants J. Taylor and D. Taylor also arranged for

 defendant Giguiere to acquire millions of Eco Science shares at a steep discount

 through an agreement with his financing company, Phenix. This transaction

 disguised a blatant transfer of more Eco Science shares allowing defendant

 Giguiere to capitalize on the inflated value of the stock.        The Individual

 Defendants then attempted to register defendant Giguiere's millions of Company

 stock he had acquired through these arrangements. In the ensuing downturn as

 they awaited SEC approval, the Individual Defendants conspired to keep the

 Company's stock value afloat with another sham transaction, this time with the so-

 called Ga-Du Bank. The SEC found this transaction questionable and suspended

 trading. Since the lifting of the SEC suspension, the Individual Defendants have

 continued to tout the possibility of a Ga-Du Bank acquisition to keep the stock

 afloat, to the detriment of the Company and its investors.

                           IMPROPER STATEMENTS

       74.    During this period, while engaged in various arrangements with

 defendant Giguiere, the Individual Defendants made repeated improper statements

 about the Company's business, operations, and prospects. In truth, the Individual



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 Defendants were engaged in a pump-and-dump scheme designed to manipulate the

 true value of the Company's stock and enrich themselves at expense of the

 Company's reputation and financial wellbeing.

       75.     In the January 12, 2016 Form 8-K, the Company announced it had

 acquired a "proprietary messaging and customer relationship management software

 platform" from SDOI as part of an "Asset Purchase Agreement." This transaction

 was smoke and mirrors to disguise the transfer of Company shares to defendant

 Giguiere as part of the Individual Defendants' pump-and-dump scheme. Although

 defendants J. Taylor, D. Taylor, and Giguiere claimed that the software platform

 was used to develop the Fitrix and Herbo apps, these products were effectively

 rudimentary and produced no revenue. In addition, the Form 8-K announced that

 the Company had signed a "technology licensing and marketing support

 agreement."    In reality, Eco Science, under the direction and supervision of

 defendants J. Taylor and D. Taylor, compensated defendant Giguiere through

 SDOI for pumping up the value of the Company's stock, instead of the worthless

 products that the Company touted.

       76.     On February 26, 2016, Eco Science issued a press release announcing

 in the section entitled "About Eco Science Solutions, Inc.," that the Company

 "develops solutions that empower cannabis enthusiasts in their pursuit and

 enjoyment of their cannabis lifestyle," including through its Herbo app.



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       77.   In the 2015 Form 10-K filed with the SEC on May 17, 2016, Eco

 Science extoled the revenue potential and sophistication of the Fitrix and Herbo

 apps. The 2015 Form 10-K claimed that the Herbo app contained a "database of

 over 14,000 alternative medicine locations and delivery services, doctors who

 provide evaluations, and local shops that sell relevant product." Following the

 alleged "launch" of this product, the Company asserted that defendants J. Taylor

 and D. Taylor had introduced Fitrix, "a powerful and flexible companion which

 helps users keep track of your day to day fitness routines, dietary habits and

 alternative medicine intake." Without much detail, the 2015 Form 10-K further

 averred that the Company would "generate revenue through paid advertisements

 form business seeking exposure to users [of] the Herbo services" and "sales of

 consumer packaged goods targeting general health and wellness and alternative

 medicines." As discussed further in this complaint, these products were largely

 worthless and provided no revenue to the Company.

       78.   Defendants J. Taylor and D. Taylor signed the 2015 Form 10-K. The

 public filing contained certifications by defendants J. Taylor and D. Taylor

 pursuant to sections 302 and 906 of the Sarbanes-Oxley Act of 2002 ("SOX") that

 the 2015 Form 10-K contained no untrue statement of material fact or omitted to

 state a material fact necessary to make the statements made, in light of the

 circumstances under which such statements were made, not misleading with



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 respect to the period covered by the 2015 Form 10-K.

       79.   On June 20, 2016, the Company filed its Quarterly Report on Form

 10-Q for the fiscal quarter ending April 30, 2016 with the SEC. The Form 10-Q

 continued to make claims that the Company was providing consumers with useful

 content using its software platform. The Form 10-Q was signed by defendant J.

 Taylor and certified under SOX by both defendants J. Taylor and D. Taylor stating

 that the Form 10-Q contained no untrue statement of material fact or omitted to

 state a material fact necessary to make the statements made, in light of the

 circumstances under which such statements were made, not misleading with

 respect to the period covered by the Form 10-Q. The Form 10-Q stated:

       Current business overview
       Eco Science Solutions, Inc. is a technology-focused Company
       targeting the multi-billion-dollar health and wellness industry.

       From enterprise software solutions, entertaining and useful content
       generation for mass distribution to consumer apps for daily use, the
       Company develops technical solutions that empower enthusiasts in
       their pursuit and enjoyment of building eco-friendly businesses and
       living healthy lifestyles.

       Eco Science's core services span business location, localized
       communications between consumers and business operators, social
       networking, educational content, e-commerce, and delivery.

       The Company's licensed e-commerce platform enables health-and-
       wellness enthusiasts to easily locate, access, and connect with health-
       and-wellness businesses and like-minded enthusiasts, and to facilitate
       the research of and purchasing of eco-friendly products … anytime,
       anywhere.



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       80.   On September 19, 2016, the Company filed its Quarterly Report on

 Form 10-Q for the fiscal quarter ending July 31, 2016 with the SEC. The Form 10-

 Q reiterated the claims regarding the Company's products as the previous Form 10-

 Q. The Form 10-Q was signed by defendant J. Taylor and certified under SOX by

 both defendants J. Taylor and D. Taylor that the Form 10-Q contained no untrue

 statement of material fact or omitted to state a material fact necessary to make the

 statements made, in light of the circumstances under which such statements were

 made, not misleading with respect to the period covered by the Form 10-Q.

       81.   On December 2, 2016, the Company filed its Quarterly Report on

 Form 10-Q for the fiscal quarter ending October 31, 2016 with the SEC. The Form

 10-Q reiterated the claims regarding the Company's products as the previous Forms

 10-Q. The Form 10-Q was signed by defendant J. Taylor and certified under SOX

 by both defendants J. Taylor and D. Taylor that the Form 10-Q contained no untrue

 statement of material fact or omitted to state a material fact necessary to make the

 statements made, in light of the circumstances under which such statements were

 made, not misleading with respect to the period covered by the Form 10-Q.

       82.   The Company's 2016 Form 10-K filed with the SEC on May 1, 2017,

 alleged that the Company had entered a promising "unique investment and

 acquisition opportunities that are both synergistic and accretive to the Company"

 with the so-called Ga-Du Bank. The Form 10-K stated:



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       The following is to provide a road-map for how the Company intends
       to prepare for and generate revenues, along with the costs associated
       to do so. Eco Science Solutions' core Initiatives are centered on five
       main areas: 1) continued consumer and enterprise technology
       investment, 2) continued product development through Scientific
       Research and Development; 3) inventory build for distribution, and 4)
       strategic acquisitions that provide an accelerated time-frame to
       secure market share; 5) development of Sales, Customer and Finance
       personnel depth to support accelerated revenue growth.

                                      *   *    *

       Strategic acquisitions – Due to various hyper-growth trends in
       segments of the holistic health and wellness category, Eco Science
       Solutions believes that it will be presented with unique investment
       and acquisition opportunities that are both synergistic and accretive
       to the Company. The Management Team has already identified
       several candidates. The Company has not budgeted an exact dollar
       amount for investment purposes in Strategic acquisitions over the next
       12-month period.

       83.    The 2016 Form 10-K reiterated the statements from the 2015 Form

 10-K regarding the supposed value of the Fitrix and Herbo apps. Furthermore, the

 2016 Form 10-K touted the "UseHerbo" ecommerce platform and access to "The

 Pursuit of Fine Herb" original content, and that through defendants J. Taylor and

 D. Taylor, the Company "continues to source and release into the market relevant

 products for sale coupled with unique original, educational content." In actual fact,

 the Company had purchased a worthless software platform for Eco Science shares

 to defendant Giguiere in furtherance of the Individual Defendants' pump-and-dump

 scheme. The products produced no revenue for the fiscal year.

       84.    Defendants J. Taylor and D. Taylor signed the Company's 2016 Form



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 10-K, and certified under SOX that the 2016 Form 10-K contained no untrue

 statement of material fact or omitted to state a material fact necessary to make the

 statements made, in light of the circumstances under which such statements were

 made, not misleading with respect to the period covered by the 2016 Form 10-K.

       85.   On May 5, 2017, the Company issued a press release entitled "Eco

 Science Solutions, Inc. Signs Letter of Intent to Acquire Specialty Banking

 Operation." In the press release, the Company announced that it had signed a

 Letter of Intent to purchase the so-called Ga-Du Bank to provide financial

 servicing to growers, suppliers, distributors, retailers, and consumers in the

 cannabis industry. The press release claimed that Ga-Du Bank received its charter

 through SCNRFP and that the bank had received preliminary commitments to

 deposit sums between $300 million to $600 million within the first 60 to 180 days

 following the acquisition.   However, there are no records or official sources

 corroborating the existence of Ga-Du Bank. A Current Report on Form 8-K, filed

 with the SEC on May 24, 2017, enclosed the press release and letter of intent as

 exhibits.

       86.   On June 26, 2017, the Company filed a Current Report on Form 8-K

 with the SEC after it lifted its suspension of trading. The Form 8-K announced

 that the Company would continue to pursue its acquisition of Ga-Du Bank despite

 the fact that the SEC expressed skepticism about the transaction. Instead, in an



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 effort to continue to keep the stock afloat through the promise of this transaction,

 these defendants asserted that there was potential to "create additional revenue

 streams for a combined entity."         Additionally, by integrating this supposed

 financial institution, the Company would capitalize on e-commerce and enterprise

 opportunities by providing financial services to medical marijuana market.

 Defendants J. Taylor and D. Taylor compared this transaction to "when

 Amazon.com entered into [the] consumer retail market."

                REASONS THE STATEMENTS WERE IMPROPER

       87.      The statements referenced above were each improper when made

 because they failed to disclose and misrepresented the following material, adverse

 facts, which the Individual Defendants knew, consciously disregarded, or were

 reckless in not knowing that:

             a) the Company was compensating defendant Giguiere to artificially

                inflate the value of the Company's stock as part of a pump-and-dump

                scheme;

             b) the mobile phone apps and other products advertised by the Company

                were essentially worthless;

             c) the Company engaged in several sham transactions designed to enrich

                Giguiere at the expense of the Company;

             d) the Company disseminated false information about its acquisition of



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                Ga-Du Bank regulated by a nonexistent, allegedly sovereign Native

                American tribe;

             e) the Company made assertions about the sham transaction with Ga-Du

                Bank in an effort to keep the Company's inflated stock price afloat;

             f) the Company was engaged in a pump-and-dump scheme; and

             g) as a result of the foregoing, the officers' and directors' representations

                concerning the Company's operations were improper.

          ARTICLES REVEAL THE INDIVIDUAL DEFENDANTS'
         PUMP-AND-DUMP SCHEME AND SHAM TRANSACTIONS

       88.      In an article published by Seeking Alpha on December 15, 2016,

 entitled "Eco Science Solutions: Dangerously Promoted With Nearly 100%

 Downside," the author reported that the Company was engaged in a "pump-and-

 dump scheme." The article stated that the scheme was designed to promote the

 Company's stock and inflate its price, while the primary products, Fitrix and Herbo

 apps, were effectively worthless. The article stated:

       Eco Science Solutions (OTC:ESSI) is a pump-and-dump scheme with
       a 100 percent downside. It is simply dumbfounding how ESSI has
       been able to garner an enterprise value of around $77 million with a
       portfolio of assets that has seemingly little to no value.

       The Pump
       A financial media company called The Money Street (TMS)
       published a series of articles on Eco Science ... going so far as saying
       that ESSI has the potential to become the next Amazon
       (NASDAQ:AMZN) or Uber (Private:UBER) of the cannabis


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       industry.
                                     *    *   *

       TMS gets compensated between $25,000 and $150,000 to pump up
       stocks like ESSI … and looking at the stock chart below, ESSI has
       been pumped to the hilt.

                                     *    *   *

       So… What Does ESSI Do?

       ESSI is tackling both the health and wellness industry and the
       cannabis market. By tackle, I mean the following: Developing two
       YouTube channels, which so far have a COMBINED subscriber base
       of six people; and managing two mobile apps, both of which have
       between 100 to 500 downloads on the Android market, and one of
       which has a five-star review written by some guy who just so happens
       to share the same name as ESSI's chief financial officer.

       The growth story largely comes from ESSI's "Herbo" and "Fitrix"
       apps. Herbo uses the smartphone's GPS tracker to "help you find
       MMJ dispensaries, smoke shops, legal doctors, clinics, and delivery
       services in your area…." According to ESSI, the app has over 14,000
       locations that make up the marijuana smoke chain.

       The other app, Fitrix, "helps you keep track of your day-to-day fitness
       habits and routines." This app has features such as a BMI calculator,
       fitness radio, weight loss calculator, a daily log, and other generic
       features. According to an angry reviewer on the app store:

             "This app has almost useless levels of functionality - for the
             parts that work. It seems more of a developer's first learning
             app than anything meant to be used… only plus is it's free so it
             can't hurt your wallet."

                                     *    *   *

       It is also helpful to note just how easy it is to make mobile apps these
       days. For instance, a couple years ago, I decided to develop my own
       app. I knew nothing of app making, but for just a few hundred dollars,


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       I was able to hire a programming and design team from India to
       develop an app from scratch. In just two weeks, the app was
       completed and was ultimately downloaded just a few hundred times,
       generating close to nothing in revenue. Perhaps, considering how
       richly valued ESSI is, my app should have also been worth a few
       million dollars as well!

                                     *    *   *

       Valuation and Conclusion

       The financial health of ESSI is the nail in the coffin. For starts, ESSI
       has not been able to generate ANY sales, and as a result, the company
       has burned through $12.5 million in shareholder capital since
       inception!

       With only $70K in cash and almost $900K in payables on the balance
       sheet, the company will continue to cling to the capital markets for
       survival. An annual cash burn rate of +$200K also does not help.

       Since it looks like the company will have no hope in successfully
       generating cash flow to support its significant debt load, my target
       price for ESSI is $0, or 100 percent down from the stock's current
       levels.

       89.    As the contents of the article reached investors over the next several

 days, the stock price precipitously declined almost 47% to $1.43 per share by

 December 20, 2016, representing a loss of $1.25 per share, or a $40.9 million

 market capitalization loss.

       90.    Then on May 15, 2017, a more detailed article was published on

 Seeking Alpha that elaborated on the pump-and-dump scheme and sham

 transactions between the Individual Defendants, which were designed to enrich

 themselves at the expense of the Company.          The article detailed defendant



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 Giguiere's use of similar schemes in the past wherein he received shares through

 third-party marketing companies he had set up, proceeded to inflate the value of

 the stock despite a lack of a substantive product or service, and sell those shares

 before the stock became toxic.       Through a series of sham transactions with

 companies owned or operated by defendant Giguiere, the author argued that Eco

 Science was engaged in the same scheme by highlighting several articles over the

 course of 2016 on TheMoneyStreet.com that promoted Eco Science as the next

 Amazon, when in reality the Company's products were effectively worthless. The

 article stated:

        Summary

              Thanks to a small float and an ongoing stock promotion, Eco

               Science Solutions has been up over 700% over the last twelve

               months.

              Today, however, the size of its float has exploded overnight as

               a registration statement for 14 million newly issued shares has

               been declared effective.

              The person indirectly holding those shares has previously been

               CEO of Eventure, a publicly traded company with an uncanny

               number of similarities to Eco Science Solutions.

              Eventure's stock price dropped from 3.50 into the triple zeroes



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             in 2014 after a series of toxic financing deals. Eco Science

             Solutions has now obtained identical toxic financing.

            I believe history will repeat itself and Eco Science Solution's

             stock will shortly follow Eventure's down the drain.

       Introduction

                                     *   *    *

       On the 15th of December 2016, author Anthony Thorpe published an
       article on Seeking Alpha about a company called Eco Science
       Solutions (OTC:ESSI). He convincingly argued shares are worthless.
       Anyone who has taken a few minutes to do some basic due diligence
       on Eco Science will agree with him. The company solely owns two
       extremely basic apps nobody uses or has even heard of. Nevertheless,
       Eco Science currently has a $110 million market cap.

                                     *   *    *

       In his article, Thorpe mainly focused on Eco Science itself, and its
       unlikely management. To really understand what's going on here, and
       to predict when the ESSI share price will finally dump for the last
       time before sinking away into oblivion, I suggest we look a bit deeper.
       In this article, I'll argue the company, as well as its management, are
       irrelevant and merely part of a vehicle that was set up to transfer
       shares to a third party. And in this case, that particular third party
       has pulled off an almost identical scheme just a few years ago, with
       that stock now trading at zero.
                                        * * *

       2016-2017: Eco Science Solutions ESSI and Giguiere's Separation

       Degrees

       After the IPO of Separation Degrees - One fell through, Giguiere
       seems to have changed his plans. He no longer tried to IPO his own
       company, and instead appeared to change his focus to a company
       that's already listed. In January of 2016, Separation Degrees signed a


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       "technology licensing and marketing support agreement" with an
       obscure, illiquid publicly traded entity called Eco Science Solutions,
       trading under the ticker ESSI. A majority stake in this company had
       (not coincidentally) just been bought by two brothers from Hawaii one
       month before (for more information on the Taylor brothers, see
       Anthony Thorpe's article). The agreement between Eco Science and
       Separation Degrees entailed, among others, for the third time this
       article, the sale of a mysterious "software platform."

       Over 2016, the collaboration between Eco Science and Separation
       Degrees resulted in (again) two, very basic apps being brought to
       market, Herbo and Fitrix. Both apps are free, both are extremely basic
       (I personally tried Fitrix: by far the most impressive thing it does is
       offer an ability to calculate your Body Mass Index) and both are being
       downloaded or used by virtually nobody.

       During 2016, Separation Degrees has send [sic] invoices to Eco
       Science totaling over $2 million. This includes $1.8 million in
       "advertising services." I have no idea what exactly was advertised. It
       surely weren't [sic] the apps, as even Google doesn't seem to know
       what, for example, the Fitrix app even is.

                                     *   *    *

       But maybe Separation Degrees didn't advertise the apps on behalf of
       Eco Science, but instead advertised its stock. The website
       themoneystreet.com has been promoting ESSI stock for months now.
       Coincidentally (or not), that same website also used to promote EVTI
       stock.

                                     *   *    *

       I've asked TheMoneyStreet if they have been compensated for
       running the ESSI promo, as they offer no clear disclosure. They did
       not reply.

       Eco Science and Separation Degrees initially agreed invoices would
       be paid not in cash (which Eco Science doesn't have), but instead
       would be paid in shares. Later, both parties agreed to settle all
       outstanding invoices from 2016 by Eco Science issuing 4 million
       shares to Giguiere's Separation Degrees. At the current market price,


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       these shares are worth about $10 million. Not a bad deal at all
       considering the original invoices amounted to about $2 million.

       However, it's important to realize these shares cannot legally be re-
       sold in the open market without a valid S-1 registration statement
       being approved by the SEC.

       ESSI and Giguiere's Phenix Ventures

       In January of 2017, Eco Science also signed an Equity Purchase
       Agreement with an entity called Phenix Ventures LLC. By now,
       anyone reading this article will not be surprised that Phenix Ventures
       is ALSO in fact owned by Gannon Giguiere.

                                      *   *    *

       The agreement states Eco Science will sell to Phenix ten million
       shares of the company's stock, at a price "equal to 83% of the lowest
       volume weighted price for the ten consecutive trading days
       immediately following the date on which the applicable Put notice is
       delivered to Investor."

       Such an agreement is a fine example of toxic financing. Phenix gets to
       buy stock at a discount to the market price, sell those shares for a
       profit, which makes the share price fall, where Phenix is again able to
       buy at a discount, etcetera. Actually, it's the exact same type of
       financing that tanked the Eventure Interactive share price to zero.

       And that's not where the similarities end. The Equity Purchase
       Agreement signed by Eco Science with Phenix is almost an exact
       copy of the Equity Purchase Agreement signed by Eventure
       Interactive with toxic financier N600PG two years previous.

                                      *   *    *

       Both deals through two separate entities have given Gannon Giguiere
       pole position in taking full advantage of the inflated Eco Science
       share price in the short term. He's now sitting on four million shares,
       plus has the right to acquire another ten million shares at a hefty
       discount, and sell them in the open market for a big profit. All it still
       takes is those shares being registered for re-sale.



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       91.   The author of the May 15 Seeking Alpha article further contended that

 the Company's proposed acquisition of Ga-Du Bank is a sham, masterminded by

 defendant Giguiere. The article stated that the transaction was designed to keep

 the stock afloat until the Form S-1 Registration Statement filed with the SEC was

 approved, thus allowing defendant Giguiere to dump his stock:

       On January 26th, Eco Science filed with the SEC an S-1 registration
       statement. These registration statements are usually declared effective
       by the SEC within weeks, but on this occasion, it took close to four
       months, and two amendments.

       As the ESSI share price began to slide during that unexpectedly long
       waiting period, the company made ever more desperate attempts to
       keep traders interested. This included a press release saying the
       company had signed a "Letter of Intent" to buy a bank, with
       supposedly "commitments" from prospects" "to deposit sums between
       $300 million and $600 million."

       Sounds good? Well, the internet has never heard of this so-called "Ga-
       Du Bank," and it's regulated by (or, in fact, is; it's all a bit confusing to
       say the least) the newly founded Central Bank of the "Southern
       Cherokee Nation and The Red Fire People." Claiming to be a
       sovereign nation based on an 18th century US Supreme Court ruling
       (and quite possibly the only government in the world you can contact
       per e-mail through a Gmail-address), it's not on the list of 566 Native
       American tribes legally recognized by the US.

       Apparently, even Eco Science itself wasn't too impressed: while it did
       send out a PR, it never filed an 8-K with the SEC, which is an
       obligation to public companies when they have material news to
       report. I agree with the company the banking business is immaterial
       (and, besides, of a questionable legality, but I'll leave that to the
       experts), but is most of all a poor attempt to distract investors from
       impending doom.

       Anyway, I digress. By far, the most important news for ESSI
       shareholders over these last couple of months is the SEC has today


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       declared the registration statement effective, making it possible for
       Giguiere to start selling stock legally now. Based on the uncanny
       number of similarities between Eventure Interactive and Eco Science
       Solutions, I strongly believe history will repeat itself: Eco Science's
       extended run will soon be over. With dilution in full swing, I believe
       Giguiere will run yet another share price straight into the ground.

       Conclusion
       Eco Science Solutions must be one of the most cynical publicly traded
       "companies" I've ever come across. While many OTC-listed small
       caps have very little substance, at least most of them fake doing
       something. Eco Science Solutions doesn't even bother. After having
       created two extremely basic apps and now apparently a move into
       tribal "banking," the company to me seems ready to move on to the
       real purpose of this operation: printing new stock.

       With a small float, lots of volatility and several great "buy the dip"
       opportunities, ESSI stock has been a day trader's dream in 2016 and
       2017. It's fundamentally worthless though, and it doesn't take a genius
       to see this. But there's no shortage of OTC stocks which are clear
       "zeroes." And most of them, like ESSI, have excessive borrow rates,
       which make shorting tremendously expensive. The most difficult
       question is not determining the value, but when the bubble will finally
       pop. If you're right about the value, but completely wrong about the
       timing, you'll likely lose anyway.

       With the SEC now having declared effective the S-1 statement
       registering an additional 14 million shares in the hands of a person
       with, shall we say, a "colorful" history and a strong incentive to sell
       sooner rather than later, I believe the catalyst that will pop this bubble
       has finally arrived.

       92.    On this news, Eco Science's stock plummeted more than 9%, or $0.23

 per share on May 16, 2017, to close at $2.17 per share compared to the previous

 trading day's closing of $2.40, erasing more than $10.4 million in market

 capitalization.



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   SEC SUSPENDS TRADING IN THE SECURITIES OF ECO SCIENCE

       93.   On May 12, 2017, after four months of waiting on the SEC's response

 to the Company's Form S-1 Registration Statement for its issuance of stock to

 defendant Giguiere's entities SDOI and Phenix, the SEC finally gave its Notice of

 Effectiveness. But the window to dump those shares, however, was short-lived. In

 a release dated May 19, 2017, the SEC announced that it would be temporarily

 suspending trading of Eco Science stock. In the release, the SEC expressed its

 concern about the "accuracy and adequacy of publicly disseminated information

 concerning, among other things, ESSI's proposed acquisition of Ga-Du Bank, Inc."

 The SEC's release stated:

       The Securities and Exchange Commission ("Commission")
       announced the temporary suspension, pursuant to Section 12(k) of the
       Securities Exchange Act of 1934 (the "Exchange Act"), of trading in
       the securities of Eco Science Solutions, Inc. ("ESSI"), of Malawea,
       Hawaii at 9:30 a.m. EDT on May 22, 2017, and terminating at 11:59
       p.m. EDT on June 5, 2017.

       The Commission temporarily suspended trading in the securities of
       ESSI because of concerns regarding the accuracy and adequacy of
       publicly disseminated information concerning, among other things,
       ESSI's proposed acquisition of Ga-Du Bank, Inc. This order was
       entered pursuant to Section 12(k) of the Securities Exchange Act of
       1934 (Exchange Act).
       The Commission acknowledges FINRA's assistance in this matter.

       The Commission cautions broker-dealers, shareholders, and
       prospective purchasers that they should carefully consider the
       foregoing information along with all other currently available
       information and any information subsequently issued by the company.



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       Further, brokers and dealers should be alert to the fact that, pursuant
       to Rule 15c2-11 under the Exchange Act, at the termination of the
       trading suspension, no quotation may be entered unless and until they
       have strictly complied with all of the provisions of the rule. If any
       broker or dealer has any questions as to whether or not he has
       complied with the rule, he should not enter any quotation but
       immediately contact the staff in the Division of Trading and Markets,
       Office of Interpretation and Guidance, at (202) 551-5777. If any
       broker or dealer is uncertain as to what is required by Rule 15c2-11,
       he should refrain from entering quotations relating to ESSI's securities
       until such time as he has familiarized himself with the rule and is
       certain that all of its provisions have been met. If any broker or dealer
       enters any quotation which is in violation of the rule, the Commission
       will consider the need for prompt enforcement action.

       94.    Even though the SEC lifted the suspension on trading on June 5, 2017,

 as stated in the agency's May 19, 2017 release, the damage was done.              The

 Company's stock plummeted by closing on June 6, 2017, dropping to $0.65 per

 share, a steep decline of $1.72 per share, compared to the Company's closing price

 of $2.37 on May 19, 2017.           This decline erased $78 million in market

 capitalization or 72.5% of the stock's value.

 Defendants Continue to Push the Ga Du Acquisition

       95.    Despite the suspension of trading, the Company continued to push the

 acquisition of Ga Du Bank which incorporated as Ga Du "Corporation" in Nevada

 ("Ga Du") in a Current Report on Form 8-K, filed with the SEC on June 26, 2017

 (the "June 26, 2017 Form 8-K").          Filed subsequent to the SEC lifting its

 suspension, the June 26, 2017 Form 8-K claimed that Eco Science would no longer



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 engage in commercial operations through the SCNRFP.            The parties to the

 transaction also averred that they would not be seeking a banking charter through

 the SCNRFP.     Instead, the June 26, 2017 Form 8-K reported that Ga Du's

 management had agreed to become a subsidiary of Eco Science despite the loss of

 commitment from SCNRFP. Ga Du's current management includes CEO Lewis

 and COO Oveson, who are also directors of Eco Science and defendants in this

 case. The June 26, 2017 Form 8-K stated:

       Previously, on May 2, 2017, ESSI entered into a Letter of Intent with
       Ga Du Bank, a banking platform with a charter through the Southern
       Cherokee Nation Red Fire People ("SCNRFP"). After completing its
       due diligence, ESSI determined that while the banking platform
       technology was capable and had many advantages, the overall
       charter and the ability to engage in some of the desired commercial
       operations through the SCNRFP was not sufficiently developed by
       SCNRFP to meet the expectations of ESSI. In light of this, each of
       ESSI and Ga Du determined not to proceed with the acquisition of the
       banking charter. Ga Du, however, has continued the refinement of its
       platform for data capture, financial services, and compliance platform,
       to develop mobile enterprise applications and to work with existing
       commercial banks, along with its other enterprise services activities.
       Ga Du's management team determined that the direction and vision
       of ESSI aligned with the interests of Ga Du, and seeing
       the potential to create additional revenue streams for a combined
       entity, the Ga Du management team agreed unanimously to become
       a subsidiary of ESSI and bring to market its other activities under
       the Eco Sciences brand. With the acquisition of Ga Du Corporation,
       ESSI has now acquired the Ga Du technology, along with its other
       activities such as Certified Laboratory Testing and Retail Inventory
       Control, bringing important enterprise technologies in-house.

       Background on Ga Du Corporation and Ga Du's nature of relationship
       with ESSI Ga Du Corporation ("Ga Du") was originally an association
       of individuals who had experience in one or more phases of the


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       Cannabis industry (see Bios below) and wished to collaborate to
       develop and/or discover business opportunities in the industry that
       were unrelated to sale of Cannabis products. Ga Du felt that there was
       a lack of business sophistication and business tools in the industry as
       a whole, and that a significant opportunity existed to supply those.

       96.   To keep the stock afloat, the June 26, 2017 Form 8-K continued to

 tout the alleged value of integrating Ga Du into Eco Science's business. Eco

 Science asserted it could now capitalize on e-commerce and enterprise

 opportunities by providing financial services to the medical marijuana market,

 analogous to "when Amazon.com entered into [the] consumer retail market." The

 Form 8-K stated:

       How Ga Du is related to ESSI's operating business

       The Cannabis industry that ESSI and Ga Du are working to penetrate,
       remains fragmented, with rather small owner/operators, all whom are
       servicing their customer base with limited technologies,
       unsophisticated business processes and non-existent financial
       services. While forecasts have the Medical Marijuana industry as
       quite large, there remains a lack of technologies, business process
       and financial services that allow for the enterprise and the
       consumer to transact in an efficient manner. Management believes
       an analogy can be made that when Amazon.com entered into
       consumer retail market, the overall categories they targeted
       presented similar inefficiencies. This premise implies that there are
       tremendous ecommerce and enterprise opportunities in front of a
       combined Eco Science Solutions and Ga Du.

       ESSI has developed, and offers, a consumer engagement application;
       e-wallet; location and delivery technologies; e-commerce platform;
       and a rich educational content platform.

       Ga Du has developed, and offers, a security software to capture and
       retain customer and membership data, to accommodate KYC and
       compliancy matters for various kinds of financial services; a flexible


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       mobile payment platform to facilitate payment for all kinds of services
       and products in collaboration with an experienced provider.

       When combined, ESSI and Ga Du will have the capability to
       vertically satisfy the entire transaction flow from consumer to
       enterprise with a keen focus on the underserved Cannabis industry.
       The parties believe that this first mover advantage may give the
       Company a significant competitive advantage on a long-term basis.
       97.   The June 26, 2017 Form 8-K further revealed that defendant Oveson

 had coordinated efforts to combine the entities on behalf of Ga Du. The Form 8-K

 stated:

       Concurrently with work previously commenced on a proprietary
       banking and compliance software, Ga Du commenced to seek a
       correspondent relationship with various banks and to develop
       merchant processing relationship(s). During the later period of this
       process, Ga Du was introduced to Eco Science Solutions Inc.
       ("ESSI") by Mr. Randal Oveson. Mr. Oveson was aware of Ga
       Du's work with SCNRFP. Ga Du indicated to ESSI that it believed
       that it would soon have a solution for cannabis banking with
       SCNRFP. While Ga Du had received a license from SCNRFP it had
       not yet received an opinion letter as to sovereignty. Ga Du continued
       its development work on merchant processing and other payment
       solutions to assist merchants to avoid the handling of large amounts of
       cash, and on a depository system for taking cash deposits and
       digitizing such deposits.

       98.   Despite their approval and participation in the Ga Du transaction,

 designed to keep the Company's stock afloat in furtherance of the Individual

 Defendants' pump-and-dump scheme, defendants Lewis and Oveson were

 appointed as directors of Eco Science on June 21, 2017.

       99.   Further, on October 6, 2017, the Company filed a Current Report on




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 Form 8-K with the SEC that reported that Ga Du had "entered into an Assignment

 Agreement with G&L Enterprises, wherein G&L Enterprises assigned, to Ga Du

 Corporation, all of its rights, interest in, and obligations under a License and

 Master Marketing Agreement (LMMA) it entered into with [Alliance] on

 September 6, 2017."     Through the LMMA, the Company hyped Alliance's

 supposed financial and marketing services to businesses in the cannabis industry,

 deriving fees and income from enrolling companies on a "programmatic or

 membership basis" and providing a range of financial services to the cannabis

 industry. The Form 8-K also alleged that, attendant to the LMMA, Alliance would

 provide financial and marketing services software platform through its eXPO, or

 electronic eXchange Portal, mobile app.      In furtherance of this transaction,

 designed to keep the stock afloat, Ga Du agreed to issue 200,000 shares of Eco

 Science common stock to Alliance.

       100. In total during the relevant period, due to the Individual Defendants'

 pump-and-dump scheme and sham transactions, the Company's stock has eroded,

 dropping from a high on January 20, 2017 of $4.58 per share to a low of $0.28 per

 share on June 12, 2017, a loss of $4.30 per share. Overall, market capitalization

 has fallen more than $137 million, or approximately 91% of its value.        The

 Company's stock has yet to recover. Similar to Eventure, defendant Giguiere's

 involvement in Eco Science has caused its stock to become inflated, and quickly



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 erode when the schemes and sham transactions were revealed:




 The Officer Defendants and Director Defendants Line Their Pockets
 Despite Wrongdoing
       101. Defendants J. Taylor and D. Taylor also lined their own pockets while

 the Company's stock price was artificially inflated. As reported in the Company's

 2016 Form 10-K, defendants J. Taylor and D. Taylor had provided themselves with

 three million Eco Science shares on January 13, 2017, worth $8,190,000 each at

 the time of issuance, in a self-dealing transaction. Defendants J. Taylor and D.

 Taylor claimed that their drastic increase in shares were "stock-based

 compensation recorded as management fees" for serving as CEO and CFO,

 respectively.   Furthermore, despite their participation in the pump-and-dump

 scheme at the Company's expense, defendant J. Taylor paid himself a salary of

 $115,000 for the year, and D. Taylor a salary of $105,000 in a self-dealing

 transaction.



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       102. Additionally, defendants Lewis and Oveson were provided annual

 salaries and stock options as part of Employment Agreements signed in the Ga Du

 transaction, despite aiding and abetting in the wrongdoing designed to keep the

 Company's stock afloat. In exhibits attached to the June 26, 2017 Form 8-K, the

 Company revealed that it would provide defendants Lewis and Oveson $120,000

 each in annual salary for taking on the role of director. Defendant Lewis was also

 given the option to purchase 2.5 million of common stock at the discounted price

 of $2 per share, to vest in twenty-four months. Defendant Oveson was similarly

 given the option to purchase 1.5 million of common stock at the same option price

 to vest in twenty-four months.

       103. As confirmed by the Form 10-Q filed with the SEC on November 3,

 2017, for the quarterly period ended July 31, 2017, on June 21, 2017, Ga-Du

 Corporation, now a wholly owned subsidiary of Eco Science, entered into

 employment agreements with defendants Lewis and Oveson by which they

 accepted employment as CEO and COO, respectively, of Ga Du for base salaries

 of $120,000. In addition, the Form 10-Q states that Eco Science issued 16,000,000

 shares of restricted stock pursuant to the Stock Purchase Agreement with the

 founders of Ga-Du Corporation, including defendant Lewis.7


 7
   The Form 10-Q further notes, in part, that the 16,000,000 shares of restricted
 stock were issued to defendant Lewis as "Deep Spring Holdings LLC" in the
 amount of 2.15 million shares and to defendant Oveson as "Advisor to L. John


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                         DAMAGES TO ECO SCIENCE

       104. As a result of the Individual Defendants' improprieties, Eco Science

 disseminated improper, public statements concerning the Company's operations

 and its transactions with SDOI, Phenix, and Ga-Du Bank.              These improper

 statements have devastated Eco Science's credibility as reflected by the Company's

 almost $137 million, or 91%, market capitalization loss.

       105. As part of the Individual Defendants' scheme, defendants J. Taylor

 and D. Taylor also approved the issuance of millions of shares of valuable Eco

 Science stock to defendant Giguiere for worthless products and services.

 Additionally, in a self-dealing transaction, defendants J. Taylor and D. Taylor

 approved the issuance of millions of Eco Science stock to themselves, as well as

 annual salaries, despite their participation in the wrongdoing described herein.

       106. The Individual Defendants' unlawful course of conduct has also

 subjected the Company to potentially hundreds of millions of dollars in damages in

 connection with securities class action lawsuits filed in the U.S. District Court for

 the District of New Jersey. The class action lawsuits allege that the Company and

 certain   Individual   Defendants    violated    securities   laws   by   repeatedly

 misrepresenting that the Company's business, operations, and prospects.

       107. Eco Science's participation in a pump-and-dump scheme and use of


 Lewis" in the amount of 1 million shares.


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 sham transactions to manipulate the true value of the Company's equity also

 damaged its reputation within the business community and in the capital markets.

 In addition to price, Eco Science's current and potential customers consider a

 company's trustworthiness, stability, and ability to accurately describe its business

 operations.   Investors are less likely to invest in companies that disseminate

 improper statements, are subject to temporary suspensions of trading, and are

 uncertain of their own financial conditions. In the wake of the revelation that the

 SEC has expressed concerns regarding the accuracy and adequacy of the

 Company's publicly disseminated information, Eco Science's ability to raise equity

 capital or debt on favorable terms in the future is now impaired. Furthermore, the

 Company stands to incur higher marginal costs of capital and debt because the

 improper statements and misleading projections disseminated by the Individual

 Defendants have materially increased the perceived risks of investing in and

 lending money to the Company.

       108. Further, as a direct and proximate result of the Individual Defendants'

 actions, Eco Science has expended, and will continue to expend, significant sums

 of money. Such expenditures include, but are not limited to:

       a)      costs incurred from defending and paying any settlement in the class

               actions for violations of federal securities laws;

       b)      costs incurred to investigate wrongdoing; and



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       c)     costs incurred from compensation and benefits paid to the defendants

              who have breached their duties to Eco Science.

            DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       109. Plaintiffs bring this action derivatively in the right and for the benefit

 of Eco Science to redress injuries suffered, and to be suffered, by Eco Science as a

 direct result of breaches of fiduciary duty, waste of corporate assets, and unjust

 enrichment, as well as the aiding and abetting thereof, by the Individual

 Defendants. Eco Science is named as a nominal defendant solely in a derivative

 capacity. This is not a collusive action to confer jurisdiction on this Court that it

 would not otherwise have.

       110. Plaintiffs will adequately and fairly represent the interests of Eco

 Science in enforcing and prosecuting its rights.

       111. Plaintiffs were stockholders of Eco Science at the time of the

 wrongdoing complained of, have continuously been stockholders since that time,

 and are current Eco Science stockholders.

       112. At the time the first complaint was filed in this consolidated action,

 the Board of Eco Science consisted of the following four individuals: defendants J.

 Taylor, D. Taylor, Lewis, and Oveson. Plaintiffs did not make a demand on the

 Board to institute this action because such a demand would be a futile, wasteful,

 and useless act, as set forth below.



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       113. As alleged above, defendants J. Taylor and D. Taylor breached their

 fiduciary duties of loyalty by making improper statements in the Company's press

 releases and SEC filings regarding the Company's business, operations, and

 prospects.

       114. Defendants J. Taylor and D. Taylor caused or sanctioned agreements

 with entities owned and operated by defendant Giguiere that harmed the Company.

 In implementing those agreements, defendants J. Taylor and D. Taylor recklessly

 or knowingly permitted the use of a deceptive pump-and-dump scheme designed to

 manipulate the true value of the Company's equity value. To execute this scheme,

 defendants J. Taylor and D. Taylor caused or allowed the Company to engage in a

 Technology Licensing and Marketing Support Agreement with SDOI to inflate the

 Company's stock. These defendants also engaged in a toxic financing transaction

 with Phenix, a company also owned by defendant Giguiere. Finally, defendants J.

 Taylor and D. Taylor claimed that it was purchasing the so-called Ga-Du Bank in

 the Company's public filings and press releases to keep the stock price afloat.

 Defendants J. Taylor's and D. Taylor's material misrepresentations regarding these

 sham transactions have caused the Company harm by damaging its reputation,

 leading to a marked loss in market capitalization, and exposing the Company to

 several securities class action lawsuits alleging violations of federal securities laws.

 Because defendants J. Taylor and D. Taylor face a substantial likelihood of



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 liability, demand upon them is futile.

       115. Because defendants J. Taylor and D. Taylor approved the stock

 awards and compensation described herein and either received or awarded and

 received the challenged compensation, defendants J. Taylor and D. Taylor stand on

 both sides of the compensation awards. Additionally, all the Director Defendants

 received the challenged compensation, and thus derived a personal benefit from

 and had a direct interest in the transactions at issue in this case. Because they stand

 on both sides of the challenged compensation awards and received personal

 financial benefits from those awards, the Director Defendants lack disinterest, they

 will have the burden of proving the entire fairness of their compensation, and there

 is more than a reasonable doubt that the directors could impartially consider a

 demand. Accordingly, demand on the Director Defendants is excused.

       116. Defendants Lewis and Oveson aided and abetted in the wrongdoing

 described herein by rendering assistance to the Individual Defendants in

 furtherance of their pump-and-dump scheme. In particular, as alleged officers of

 Ga-Du Bank and directors of Eco Science, defendants Lewis and Oveson assisted

 in the promotion of the acquisition of the so-called Ga-Du Bank in order to keep

 the Company's stock price afloat.         By engaging in this sham transaction,

 defendants Lewis and Oveson have caused the Company harm by damaging its

 reputation, leading to a marked loss in market capitalization, and exposing the



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 Company to several class action lawsuits alleging violations of federal securities

 laws. Because defendants Lewis and Oveson face a substantial likelihood of

 liability, demand upon them is futile.

       117. The principal professional occupation of defendants J. Taylor and D.

 Taylor is their employment with Eco Science, pursuant to which they have

 received and continue to receive substantial monetary compensation and other

 benefits as alleged above. Accordingly, defendants J. Taylor and D. Taylor lack

 independence due to their interest in maintaining their executive positions at Eco

 Science. This lack of independence renders defendants J. Taylor and D. Taylor

 incapable of impartially considering a demand to commence and vigorously

 prosecute this action because they have an interest in maintaining their principal

 occupation and the substantial compensation they receive in connection with that

 occupation.

       118. Defendants J. Taylor and D. Taylor are brothers, and are incapable of

 impartially considering a demand to commence and vigorously prosecute this

 action against a family member. Therefore, demand is futile as to defendants J.

 Taylor and D. Taylor.

       119. Defendants Lewis and Oveson, as officers of Ga-Du Bank, will not

 initiate litigation against defendants J. Taylor and D. Taylor as they are interested

 in the challenged transactions because of the unique benefit they received.



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 Defendants Lewis and Oveson were appointed to Eco Science's Board in

 connection with the Company's entry into a Stock Purchase Agreement with Ga-

 Du Bank. Eco Science, under the direction and supervision of defendants J. Taylor

 and D. Taylor, agreed to purchase all of the shares of capital stock of Ga-Du Bank,

 in exchange for fifteen million shares of Eco Science common stock that shall be

 issued to Ga-Du Bank pursuant to the Stock Purchase Agreement. In June 2017,

 Eco Science entered into an employment and/or consulting agreement with Ga-Du

 Bank, with defendants Lewis and Oveson serving as Ga-Du Bank's CEO and COO,

 respectively. Concurrently, defendants Lewis and Oveson signed Employment

 Agreements to serve as directors on Eco Science's Board. As compensation,

 defendants Lewis and Oveson are to receive substantial compensation in

 connection with this appointment. Accordingly, demand is futile on defendants

 Lewis and Oveson.

       120. In addition, the Company acknowledged in its Forms 10-K filed on

 May 17, 2016, and May 1, 2017, that the Company's "disclosure controls and

 procedures were not effective"; its "internal control over financial reporting was

 not effective" and "material weaknesses" existed with respect thereto; and its

 "internal controls and procedures were not effective due to deficiencies that existed

 in the design or operation of [its] internal controls over financial reporting." The

 Company further acknowledged that these control deficiencies included: (i) the



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 "[l]ack of an independent audit committee or audit committee financial expert, and

 no independent directors," which "may be counter to corporate governance

 practices as defined by the various stock exchanges and may lead to less

 supervision over management"; and (ii) "insufficient written policies and

 procedures for accounting and financial reporting with respect to the requirements

 and application of US GAAP and SEC disclosure requirements." These utter

 failures to ensure even the most basic controls further demonstrate that the

 members of the Board face a substantial likelihood of liability.

       121. Plaintiffs have not made any demand on the other stockholders of Eco

 Science to institute this action since such demand would be a futile and useless act

 for at least the following reasons:

       a)     Eco Science is a publicly held company with over 45.3 million shares

              outstanding and thousands of stockholders as of June 8, 2017;

       b)     making demand on such a number of stockholders would be

              impossible for plaintiffs who have no way of finding out the names,

              addresses, or phone numbers of stockholders; and

       c)     making demand on all stockholders would force plaintiffs to incur

              excessive expenses, assuming all stockholders could be individually

              identified.




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                                       COUNT I

         Against Defendants J. Taylor, D. Taylor, Lewis, and Oveson for
                           Breach of Fiduciary Duty

       122. Plaintiffs incorporate by reference and reallege each and every

 allegation contained above, as though fully set forth herein.

       123. Defendants J. Taylor, D. Taylor, Lewis, and Oveson owed and owe

 Eco Science fiduciary obligations. By reason of their fiduciary relationships,

 defendants J. Taylor, D. Taylor, Lewis, and Oveson owed and owe Eco Science the

 highest obligation of good faith, fair dealing, loyalty, and due care.

       124. Defendants J. Taylor, D. Taylor, Lewis, and Oveson and each of

 them, violated and breached their fiduciary duties of candor, good faith, and

 loyalty. More specifically, defendants J. Taylor, D. Taylor, Lewis, and Oveson

 violated their duty of good faith by creating a culture of lawlessness within Eco

 Science, and/or consciously failing to prevent the Company from engaging in the

 unlawful acts complained of herein.

       125. Defendants J. Taylor, D. Taylor, Lewis and Oveson, as the officers

 and directors of the Company, either knew, were reckless or were grossly negligent

 in disregarding the illegal activity of such substantial magnitude and duration.

 Moreover, defendants J. Taylor and D. Taylor breached their duty of loyalty by

 recklessly permitting the improper statements. Defendants J. Taylor, D. Taylor,

 Lewis and Oveson either knew or were reckless in not knowing that: (i) the


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 Company was compensating defendant Giguiere to artificially inflate the value of

 the Company's stock as part of a pump-and-dump scheme; (ii) the mobile phone

 apps and other products advertised by the Company were essentially worthless;

 (iii) the Company engaged in several sham transactions designed to enrich

 defendant Giguiere at the expense of the Company; (iv) the Company disseminated

 false information about its acquisition of Ga-Du Bank regulated by a nonexistent,

 allegedly sovereign Native American tribe; (v) the Company made assertions about

 the sham transaction with Ga-Du Bank in an effort to keep the Company's inflated

 stock price afloat; and (vi) the Company was engaged in a pump-and-dump

 scheme.    Accordingly, defendants J. Taylor, D. Taylor, Lewis, and Oveson

 breached their duty of care and loyalty to the Company.

       126. Moreover, defendants J. Taylor and D. Taylor breached their fiduciary

 duty by compensating themselves three million shares each worth over $8 million

 at the time of issuance and paying themselves an annual salary of over $100,000 in

 a self-dealing transaction.

       127. As a direct and proximate result of defendants J. Taylor, D. Taylor,

 Lewis, and Oveson breaches of their fiduciary obligations, Eco Science has

 sustained significant damages, as alleged herein. As a result of the misconduct

 alleged herein, these defendants are liable to the Company.

       128. Plaintiffs, on behalf of Eco Science, have no adequate remedy at law.



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                                      COUNT II

   Against the Individual Defendants for Aiding and Abetting Defendants J.
               Taylor and D. Taylor's Breach of Fiduciary Duty
       129. Plaintiffs incorporate by reference and reallege each and every

 allegation contained above, as though fully set forth herein.

       130. During all times relevant hereto, the Individual Defendants,

 collectively and individual, initiated a course of conduct that was designed to and

 did: (i) conceal harmful information relating to Eco Science's business, operations,

 and prospects that rendered statements in the Company's SEC filings and public

 announcements improper; (ii) deceive the investing public, including stockholders

 of Eco Science, regarding the Individual Defendants' management of Eco Science's

 operations; and (iii) enhance the Individual Defendants' executive and directorial

 positions at Eco Science and the profits, power, and prestige that the Individual

 Defendants enjoyed as a result of holding these positions. In furtherance of this

 plan, conspiracy, and course of conduct, the Individual Defendants, collectively

 and individually, took the actions set forth herein.

       131. The Individual Defendants engaged in a conspiracy, common

 enterprise, and/or common course of conduct. During this time, the Individual

 Defendants caused the Company to engage in the wrongdoing described herein and

 to issue improper statements.

       132. As a direct and proximate result of Individual Defendants' conspiracy,


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 common enterprise, and/or common course of conduct, Eco Science has sustained

 significant damages, as alleged herein. As a result of the misconduct alleged

 herein, these defendants are liable to the Company.

       133. Plaintiffs, on behalf of Eco Science, have no adequate remedy at law.

                                     COUNT III

        Against the Individual Defendants for Waste of Corporate Assets

       134. Plaintiffs incorporate by reference and reallege each and every

 allegation contained above, as though fully set forth herein.

       135. As a result of the sham transactions with entities owned and operated

 by defendant Giguiere, the Individual Defendants have caused Eco Science to

 waste its assets by compensating defendant Giguiere to promote the pump-and-

 dump scheme that has devastated the Company's reputation and financial standing.

 In particular, defendants J. Taylor and D. Taylor approved the purchase of

 supposedly proprietary messaging and customer relationship management

 "software platform" in an Asset Purchase Agreement from defendant Giguiere's

 company, SDOI. This software platform, used in the creation of the Fitrix and

 Herbo apps, was effectively worthless and produced no revenue.

       136. The Individual Defendants have also caused Eco Science to waste its

 assets by paying themselves improper compensation and bonuses despite the

 breach of their fiduciary duty.



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       137. As a result of the waste of corporate assets, the Individual Defendants

 are liable to the Company.

       138. Plaintiffs, on behalf of Eco Science, have no adequate remedy at law.

                                     COUNT IV

            Against the Individual Defendants for Unjust Enrichment

       139. Plaintiffs incorporate by reference and reallege each and every

 allegation contained above, as though fully set forth herein.

       140. By their wrongful acts and omissions, the Individual Defendants were

 unjustly enriched at the expense of and to the detriment of Eco Science. The

 Individual Defendants were unjustly enriched as a result of the compensation and

 director remuneration they received while breaching fiduciary duties owed to Eco

 Science.

       141. Plaintiffs, as stockholders and representatives of Eco Science, seek

 restitution from these defendants, and each of them, and seek an order of this Court

 disgorging all profits, benefits, and other compensation obtained by these

 defendants, and each of them, from their wrongful conduct and fiduciary breaches.

       142. Plaintiffs, on behalf of Eco Science, have no adequate remedy at law.

                              PRAYER FOR RELIEF

       WHEREFORE, plaintiffs, on behalf of Eco Science, demand judgment as

 follows:



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       A.       Against all of the defendants and in favor of the Company for the

 amount of damages sustained by the Company as a result of the defendants'

 breaches of fiduciary duties, aiding and abetting, waste of corporate assets, and

 unjust enrichment;

       B.       Directing Eco Science to take all necessary actions to reform and

 improve its corporate governance and internal procedures to comply with

 applicable laws and to protect Eco Science and its stockholders from a repeat of

 the damaging events described herein, including, but not limited to, putting

 forward for stockholder vote, resolutions for amendments to the Company's By-

 Laws or Articles of Incorporation and taking such other action as may be necessary

 to place before stockholders for a vote of the following corporate governance

 policies:

             1) a proposal to strengthen Eco Science's oversight of its transactions and

                agreements with outside entities;

             2) a proposal to strengthen the Board's supervision of operations and

                develop and implement procedures for greater stockholder input into

                the policies and guidelines of the Board;

             3) a provision to permit the stockholders of Eco Science to nominate at

                least one-third of the candidates for election to the Board; and

             4) a proposal to strengthen Eco Science's oversight of its disclosure



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              procedures;

       C.     Extraordinary equitable and/or injunctive relief as permitted by law,

 equity, and state statutory provisions sued hereunder, including attaching,

 impounding, imposing a constructive trust on, or otherwise restricting the proceeds

 of defendants' trading activities or their other assets so as to assure that plaintiffs

 on behalf of Eco Science have an effective remedy;

       D.     Awarding to Eco Science restitution from defendants, and each of

 them, and ordering disgorgement of all profits, benefits, and other compensation

 obtained by the defendants;

       E.     Awarding to plaintiffs the costs and disbursements of the action,

 including reasonable attorneys' fees, accountants' and experts' fees, costs, and

 expenses; and

       F.     Granting such other and further relief as the Court deems just and

 proper.

       Dated: San Diego, California, February 23, 2018.

                                          ROBBINS ARROYO LLP

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